                            UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

                                                              )
 In re:                                                       )       Chapter 11
                                                              )
 WALTER ENERGY, INC., et al.                                  )       Case No. 15-02741-TOM11
                                                              )
                                    Debtors. 1                )       Jointly Administered
                                                              )
                                                              )

             FINAL ORDER (A) AUTHORIZING POSTPETITION USE
       OF CASH COLLATERAL, (B) GRANTING ADEQUATE PROTECTION TO
      PREPETITION SECURED PARTIES AND (C) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”) [Docket No. 42] 2 dated July 15, 2015 of the above-

 captioned debtors and debtors in possession (collectively, the “Debtors”), pursuant to sections

 105, 361, 362, 363, 507(b) and 552(b) of title 11 of the United States Code (the “Bankruptcy

 Code”) and Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) 2002, 4001, 6003,

 6004 and 9014, seeking, among other things, entry of a final order (this “Final Order”):

          (I)     authorizing the Debtors, subject and pursuant to the terms and conditions
                  set forth in this Final Order, to (a) use the Cash Collateral (as defined
                  herein), which Cash Collateral shall be used in accordance with the
                  Budget Covenant (as defined herein), including a budget acceptable in all
                  respects to the Steering Committee (as defined herein) and Administrative
                  Agent (as defined herein), each in their sole discretion, including any

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          The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
          number, are: Walter Energy, Inc. (9953); Atlantic Development and Capital, LLC (8121); Atlantic Leaseco
          LLC (5308); Blue Creek Coal Sales, Inc. (6986); Blue Creek Energy, Inc. (0986); J.W. Walter, Inc. (0648);
          Jefferson Warrior Railroad Company, Inc. (3200); Jim Walter Homes, LLC (4589); Jim Walter Resources,
          Inc. (1186); Maple Coal Co. LLC (6791); Sloss-Sheffield Steel & Iron Company (4884); SP Machine, Inc.
          (9945); Taft Coal Sales & Associates, Inc. (8731); Tuscaloosa Resources, Inc. (4869); V Manufacturing
          Company (9790); Walter Black Warrior Basin LLC (5973); Walter Coke, Inc. (9791); Walter Energy
          Holdings, LLC (1596); Walter Exploration & Production LLC (5786); Walter Home Improvement, Inc.
          (1633); Walter Land Company (7709); Walter Minerals, Inc. (9714); and Walter Natural Gas, LLC (1198).
          The location of the Debtors’ corporate headquarters is 3000 Riverchase Galleria, Suite 1700, Birmingham,
          Alabama 35244-2359.
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          Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.




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                variances therefrom and the financial covenants (as such budget may be
                extended, varied, supplemented, or otherwise modified in accordance with
                the provisions of this Final Order (as defined herein), the “Approved
                Budget”) and (b) provide adequate protection on account of the diminution
                in the value of the Prepetition Collateral (as defined herein) as a
                consequence of the Debtors’ use, sale or lease of the Prepetition
                Collateral, including any Cash Collateral (as defined below), and/or the
                imposition of the automatic stay to the Prepetition Secured Parties (as
                defined herein) who have been granted prepetition liens and security
                interests under the following documents (collectively, the “Prepetition
                Debt Documents”):

                (a)      the Credit Agreement, dated as of April 1, 2011 (as amended,
                         restated, amended and restated, waived, supplemented or otherwise
                         modified from time to time, the “Credit Agreement” and together
                         with all mortgage, security, pledge, guaranty and collateral
                         agreements, including the 1L Security Agreement (as defined
                         below) and all other documentation executed in connection with
                         any of the foregoing, each as amended, restated, amended and
                         restated, waived, supplemented or otherwise modified from time to
                         time, the “First Lien Credit Documents”), among Walter Energy,
                         Inc. (“Walter”), as U.S. borrower, Western Coal Corp. 3 and Walter
                         Energy Canada Holdings, Inc., as Canadian borrowers, the lenders
                         from time to time party thereto (collectively, the “First Lien
                         Lenders”), and Morgan Stanley Senior Funding, Inc., as
                         administrative agent (in such capacity, the “Administrative
                         Agent”);

                (b)      the Indenture, dated as of September 27, 2013 (as amended,
                         waived, supplemented or otherwise modified from time to time,
                         the “First Lien Indenture” and together with all mortgage, security,
                         pledge, guaranty and collateral agreements, including the 1L Notes
                         Collateral Agreement (as defined below) and all other
                         documentation executed in connection with the foregoing, each as
                         amended, restated, amended and restated, waived, supplemented or
                         otherwise modified from time to time, the “First Lien Indenture
                         Documents” and together with the First Lien Credit Documents,
                         the “First Lien Documents”), among Walter, as issuer, certain of
                         its subsidiaries, as guarantors, and Wilmington Trust, National
                         Association (as successor to Union Bank, N.A.), as trustee (in such

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       Western Coal Corp. was a Canadian borrower at the time of entry into the First Lien Credit Agreement and
       related documents. In connection with a 2012 restructuring, substantially all of Western Coal Corp.’s
       assets were transferred to Walter Canadian Coal Partnership, and Western Coal Corp. was dissolved, with
       its remaining assets (including its partnership interest in Walter Canadian Coal Partnership) distributed to
       Walter Energy Canada Holdings, Inc.

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                       capacity, the “First Lien Trustee”) and collateral agent for the
                       noteholders from time to time of the 9.50% Senior Secured Notes
                       due 2019 (collectively, the “First Lien Noteholders” and, together
                       with the First Lien Trustee, the Administrative Agent and the First
                       Lien Lenders, the “First Lien Secured Parties”);

                (c)    the Indenture, dated as of March 27, 2014 (as amended, waived,
                       supplemented or otherwise modified from time to time, the
                       “Second Lien Indenture” and together with all mortgage, security,
                       pledge, guaranty and collateral agreements, including the 2L
                       Collateral Agreement (as defined below) and all other
                       documentation executed in connection with the foregoing, each as
                       amended, restated, amended and restated, waived, supplemented or
                       otherwise modified from time to time, the “Second Lien Indenture
                       Documents”), among Walter, as issuer, certain of its subsidiaries,
                       as guarantors, and Wilmington Trust, National Association, as
                       trustee (in such capacity, the “Second Lien Trustee” and, together
                       with the First Lien Trustee, the “Indenture Trustees”) and collateral
                       agent for the noteholders from time to time of the 11.0%/12.0%
                       Senior Secured Second Lien PIK Toggle Notes due 2020
                       (collectively, the “Second Lien Noteholders” and, together with the
                       Second Lien Trustee and the First Lien Secured Parties,
                       collectively, the “Prepetition Secured Parties”);

        (II)    waiving the Debtors’ right to surcharge the Prepetition Collateral pursuant
                to Bankruptcy Code section 506(c);

        (III)   modifying the automatic stay imposed by Bankruptcy Code section 362 to
                the extent necessary to implement and effectuate the terms of this Final
                Order; and

        (IV)    waiving any applicable stay with respect to the effectiveness and
                enforceability of this Final Order (including a waiver pursuant to
                Bankruptcy Rule 6004(h)).

        The Interim Order (A) Authorizing PostPetition Use of Cash Collateral, (B) Granting

 Adequate Protection to Prepetition Secured Parties, (C) Scheduling a Final Hearing Pursuant to

 Bankruptcy Rule 4001(b) and (D) Granting Related Relief (the “Interim Order”) [Docket No. 59]

 was entered by the Court on July 15, 2015. The Court held a hearing to consider the approval of

 the Motion on a final basis (the “Final Hearing”) on September 2 and 3, 2015. Proper notice of

 the final hearing was given. The Court has considered the record made by the Debtors at the
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 interim hearing on the Motion (including the First Day Declaration), as well as the record at the

 Final Hearing made by all parties, including the testimony, evidence (including later

 submissions), and arguments presented and admitted by all parties. It appears to this Court that

 the final relief requested by the Debtors, except as otherwise found or ordered in this Final

 Order, is in the best interests of the Debtors, their estates, creditors and parties-in-interest; and

 after due deliberation and consideration of the testimony, evidence, arguments and applicable

 law, the Court concludes:

        IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:

        1.      The Motion. The Motion is granted on a final basis only as set forth herein. Any

 objection to the Motion to the extent not withdrawn or resolved is hereby overruled. All actions

 taken in connection with or in reliance on the Interim Order are hereby reaffirmed in full as if

 taken in connection with or in reliance on this Final Order.

        2.      Jurisdiction. This Court has core jurisdiction over the above-captioned Chapter

 11 cases (the “Chapter 11 Cases”) commenced on July 15, 2015 (the “Petition Date”), the

 Motion, the objections, and the parties and property affected hereby pursuant to 28 U.S.C. §§

 157(b) and 1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      Statutory Committees.       On July 30, 2015, the Office of the Bankruptcy

 Administrator for the Northern District of Alabama (the “Bankruptcy Administrator”) appointed

 the official committee of unsecured creditors (the “Creditors’ Committee”) in the Chapter 11

 Cases [Docket No. 268]. Pursuant to an order entered on July 30, 2015 [Docket No. 264], a

 committee of retired employees (the “Retiree Committee”) has been formed pursuant to

 Bankruptcy Code sections 1114(c)(2) and 1114(d). As of the date hereof, no other official

 committees have been appointed in the Chapter 11 Cases.

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        4.      Notice.       The Debtors have caused notice of the Motion, the relief requested

 therein and the Final Hearing to be served on: (a) the Bankruptcy Administrator; (b) counsel to

 the Administrative Agent; (c) counsel to the First Lien Trustee; (d) counsel to the Second Lien

 Trustee; (d) counsel to a steering committee (the “Steering Committee”) of First Lien Lenders

 and First Lien Noteholders; (e) counsel to the ad hoc group of unsecured creditors; (f) the

 Internal Revenue Service; (g) the Securities and Exchange Commission; (h) the U.S.

 Environmental Protection Agency; (i) counsel to the United Mine Workers of America

 (“UMWA”); (j) counsel to the United Steel Workers; (k) the holders of the fifty (50) largest

 unsecured claims against the Debtors, on a consolidated basis; (l) the United States Attorney for

 the Northern District of Alabama; (m) counsel to the Creditors’ Committee and (n) all persons

 and entities that have filed a request for service of filings in these Chapter 11 Cases pursuant to

 Bankruptcy Rule 2002. Under the circumstances, the notice given by the Debtors of the Motion,

 the relief requested therein and of the Final Hearing constitutes due and sufficient notice thereof

 and complies with Bankruptcy Rules 2002 and 4001(b) and (d).

        5.      Debtors’ Stipulations. Subject to the rights granted to certain parties, other than

 the Debtors, to challenge the Prepetition Secured Parties’ claims and liens before the termination

 of the Challenge Period (as defined herein) as set forth below in paragraph 16, the Debtors admit,

 stipulate, and agree that:

                (a)       As of the Petition Date, all of the Debtors (excluding Jefferson Warrior

 Railroad Company, Inc., Jim Walter Homes, LLC, Walter Home Improvement, Inc., Blue Creek

 Energy, Inc., Sloss-Sheffield Steel & Iron Company, SP Machine, Inc., and V Manufacturing

 Company) (collectively, the “Obligated Debtors”) were unconditionally indebted and liable to




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 the Prepetition Secured Parties, without defense, counterclaim or offset of any kind, for the

 following:

                  (i)     all debts, liabilities and obligations of every kind and nature owed by
                          the Obligated Debtors under the First Lien Credit Documents,
                          including, without limitation, the Loans (as defined in the Credit
                          Agreement) made by the First Lien Lenders to such Debtors in the
                          outstanding aggregate principal amount of $978,178,601.35 of term
                          loans, and US$50,688,432.80 and C$24,070,494.00 (the “Canadian
                          LCs”) in outstanding letters of credit, plus accrued and unpaid interest,
                          fees (including any prepayment fees), expenses, penalties, premiums
                          and other obligations incurred in connection therewith, in each case in
                          accordance with the terms of the First Lien Credit Documents
                          (collectively, the “Credit Agreement Obligations”); the Credit
                          Agreement Obligations are unconditionally guaranteed by the U.S.
                          Subsidiary Guarantors (as defined in the Credit Agreement) and are
                          secured by first priority security interests in and liens on (the “Credit
                          Agreement Liens”) substantially all of the assets of Walter and the
                          U.S. Subsidiary Guarantors, including Cash Collateral (as defined
                          herein) (the “Prepetition Collateral”), pursuant to and on the terms set
                          forth in (A) the U.S. Guaranty and Collateral Agreement, dated as of
                          April 1, 2011 (as amended, restated, supplemented or otherwise
                          modified from time to time, the “1L Security Agreement”), among
                          Walter, the U.S. Subsidiary Guarantors and Morgan Stanley Senior
                          Funding, Inc., as collateral agent (in such capacity, the “Credit
                          Agreement Collateral Agent”), (B) the Grant of Security Interest in
                          United States Trademarks, dated as of April 1, 2011, made by Walter
                          to the Credit Agreement Collateral Agent, and (C) such other
                          mortgage, security, pledge, guaranty and collateral agreements
                          executed in connection with the Credit Agreement;

                  (ii)    all debts, liabilities and obligations of every kind and nature owed by
                          the Obligated Debtors under the First Lien Indenture Documents
                          (collectively, the “First Lien Indenture Obligations” and together with
                          the Credit Agreement Obligations, the “First Lien Obligations”),
                          including, without limitation, the Notes (as defined in the First Lien
                          Indenture) issued to the First Lien Noteholders in the outstanding
                          aggregate principal amount of $970,000,000 under the First Lien
                          Indenture, plus accrued and unpaid interest, fees, penalties, premium,
                          expenses and other obligations incurred in connection therewith, in
                          each case in accordance with the terms of the First Lien Indenture
                          Documents; the First Lien Indenture Obligations are unconditionally
                          guaranteed by the same entities that have guaranteed the Credit
                          Agreement Obligations and secured, pari passu with the Credit
                          Agreement Liens, by first priority security interests in and liens on the
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                             Prepetition Collateral (collectively with the Credit Agreement Liens,
                             the “Prepetition First Priority Liens”), pursuant to and in accordance
                             with the terms of (A) the First-Lien Notes Collateral Agreement, dated
                             as of September 27, 2013 (as amended, restated, supplemented or
                             otherwise modified from time to time, the “1L Notes Collateral
                             Agreement”), among Walter, certain of its subsidiaries from time to
                             time party thereto and Wilmington Trust, National Association (as
                             successor to Union Bank, N.A.), as collateral agent (in such capacity,
                             the “1L Notes Collateral Agent”), (B) the Grant of Security Interest in
                             United States Trademarks, dated as of September 27, 2013, made by
                             Walter to the 1L Notes Collateral Agent, and (C) such other mortgage,
                             security, pledge, guaranty and collateral agreements executed in
                             connection with the First Lien Indenture; and

                     (iii)   all debts, liabilities and obligations of every kind and nature owed by
                             the Obligated Debtors under the Second Lien Indenture Documents
                             (collectively, the “Second Lien Indenture Obligations” and together
                             with the First Lien Obligations, the “Prepetition Obligations”),
                             including, without limitation, the Notes (as defined in the Second Lien
                             Indenture) issued to the Second Lien Noteholders in the outstanding
                             aggregate principal amount (including interest that has been
                             capitalized) of $360.5 million under the Second Lien Indenture, plus
                             accrued and unpaid interest, fees, penalties, premium, expenses and
                             other obligations incurred in connection therewith, in each case in
                             accordance with the terms of the Second Lien Indenture Documents;
                             the Second Lien Indenture Obligations are unconditionally guaranteed
                             by the same entities that have guaranteed the First Lien Obligations
                             and secured by second priority security interests in and liens on the
                             Prepetition Collateral (the “Prepetition Second Priority Liens” and
                             together with the Prepetition First Priority Liens, the “Prepetition
                             Liens”), pursuant to and in accordance with the terms of (A) the
                             Second-Lien Notes Collateral Agreement, dated as of March 27, 2014
                             (as amended, restated, supplemented or otherwise modified from time
                             to time, the “2L Notes Collateral Agreement”), among Walter, certain
                             of its subsidiaries from time to time party thereto and Wilmington
                             Trust, National Association, as collateral agent (in such capacity, the
                             “2L Notes Collateral Agent”), (B) the Grant of Security Interest in
                             United States Trademarks, dated as of March 27, 2014, made by
                             Walter to the 2L Notes Collateral Agent, and (C) all other mortgage,
                             security, pledge, guaranty and collateral agreements executed in
                             connection with the Second Lien Indenture.

               (b)       The Prepetition Obligations constitute the legal, valid, binding, non-

 avoidable obligations of the Obligated Debtors.

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                (c)     The Prepetition Liens are valid, binding, perfected, non-avoidable, and

 enforceable liens on and security interests in the Prepetition Collateral, subject in each case,

 solely as among the Prepetition Secured Parties, to the terms of the Intercreditor Agreement (as

 defined herein) and, prior to giving effect to the Interim Order, those other liens explicitly

 permitted by the applicable Prepetition Debt Documents (in each case, only to the extent such

 permitted exceptions were valid, properly perfected, non-avoidable liens senior in priority to the

 respective liens and security interests of the Prepetition Secured Parties on the Petition Date) (the

 “Permitted Priority Liens”), if any.

                (d)     (i) No portion of the Prepetition Obligations, the Prepetition Debt

 Documents, and the transactions contemplated thereby is subject to contest, attack, objection,

 recoupment, defense, setoff, counterclaim, avoidance, recharacterization, reclassification,

 reduction, disallowance, recovery, disgorgement, attachment, “claim” (as defined in the

 Bankruptcy Code), impairment, subordination or other challenge pursuant to the Bankruptcy

 Code or applicable nonbankruptcy law; (ii) the Debtors do not have any claims, challenges,

 counterclaims, causes of action, defenses, recoupment, disgorgement, or setoff rights related to

 the Prepetition Obligations or the Prepetition Debt Documents, whether arising under the

 Bankruptcy Code or applicable nonbankruptcy law, on or prior to the date hereof, against the

 Prepetition Secured Parties and their respective affiliates, subsidiaries, agents, officers, directors,

 employees, attorneys and advisors; and (iii) the Debtors each irrevocably waive, for themselves,

 and their subsidiaries, shareholders, and affiliates, any right to challenge or contest in any way

 the perfection, validity, priority and enforceability of the Prepetition Liens or the validity or

 enforceability of the Prepetition Obligations and the Prepetition Debt Documents. Any order

 entered by the Court in relation to the establishment of a bar date for any claims (including

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 without limitation administrative expense claims) in any of the Chapter 11 Cases or any

 successor cases shall not apply to the Prepetition Secured Parties. The Prepetition Obligations,

 Prepetition Liens, interests, rights, priorities and protections granted to, or in favor of the

 Prepetition Secured Parties, as set forth in the Interim Order, this Final Order and in the

 applicable Prepetition Debt Documents shall be deemed a timely filed proof of claim on behalf

 of these Prepetition Secured Parties in each of these Chapter 11 Cases, and none of the

 Prepetition Secured Parties shall be required to file a proof of claim with respect thereto.

                (e)     Each of the Debtors and the Debtors’ estates, on its own behalf and on

 behalf of its past, present and future predecessors, successors, heirs, subsidiaries, and assigns

 (collectively, the “Releasors”) shall, to the maximum extent permitted by applicable law,

 unconditionally, irrevocably, fully and forever release, remise, acquit, relinquish, irrevocably

 waive and discharge each of the Prepetition Secured Parties and each of their respective former,

 current, or future officers, employees, directors, agents, representatives, owners, members,

 partners, financial advisors, legal advisors, shareholders, managers, consultants, accountants,

 attorneys, affiliates, and predecessors in interest (collectively, the “Releasees”) of and from any

 and all claims, demands, liabilities, responsibilities, disputes, remedies, causes of action,

 indebtedness and obligations, rights, assertions, allegations, actions, suits, controversies,

 proceedings, losses, damages, injuries, attorneys’ fees, costs, expenses, or judgments of every

 type, whether known, unknown, asserted, unasserted, suspected, unsuspected, accrued,

 unaccrued, fixed, contingent, pending, or threatened including, without limitation, all legal and

 equitable theories of recovery, arising under common law, statute or regulation or by contract, of

 every nature and description that exist on the date hereof relating to any of the Prepetition Debt

 Documents, or the transactions contemplated under such documents, including, but not limited

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 to, (i) any so-called “lender liability,” equitable subordination, equitable disallowance or

 recharacterization claims or defenses, (ii) any and all claims and causes of action arising under

 the Bankruptcy Code, and (iii) any and all claims and causes of action regarding the validity,

 priority, perfection or avoidability of the Prepetition Liens and the Prepetition Obligations. The

 Debtors’ acknowledgments, stipulations, and releases shall be binding on the Debtors and their

 respective representatives, successors and assigns and, only subject to any action timely

 commenced by the Creditors’ Committee or any other party in interest, or as otherwise ordered

 herein, and in any case which is granted the requisite standing before the expiration of the

 Challenge Period as provided in paragraph 16, on each of the Debtors’ estates, all creditors

 thereof and each of their respective representatives, successors and assigns, except the releases

 contained in this paragraph shall not bind, limit or restrict any trustee or other representative

 appointed by the Court, whether such trustee or representative is appointed in cases under

 chapter 11 or chapter 7 of the Bankruptcy Code.

                (f)     For purposes of this Final Order, the term “Cash Collateral” shall mean

 and include all “cash collateral” as defined in Bankruptcy Code section 363 in which the

 Prepetition Secured Parties have a perfected lien, security interest or other interest, in each case

 whether existing on the Petition Date, arising pursuant to the Interim Order or this Final Order,

 or otherwise. The Debtors stipulate that any and all of the Debtors’ cash, cash equivalents,

 negotiable instruments, investment property, securities, and any amounts generated from the use,

 sale, lease or other disposition of the Prepetition Collateral, in each case wherever located,

 constitute Cash Collateral and Prepetition Collateral of the Prepetition Secured Parties.

                (g)     As of the Petition Date, the Debtors have not brought and are not aware of

 any claims, objections, challenges, causes of action, including without limitation, avoidance

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 claims under chapter 5 of the Bankruptcy Code against the Prepetition Secured Parties arising

 out of or related to the Prepetition Obligations.

                (h)     To the Debtors’ knowledge, as of the Petition Date, there were no other

 perfected liens on or security interests in the Prepetition Collateral except for the Prepetition

 Liens and the Permitted Priority Liens.

        6.      Section 552(b). Each of the Prepetition Secured Parties shall be entitled to all of

 the rights and benefits of Bankruptcy Code section 552(b); provided that the Prepetition Secured

 Parties shall remain subject to the “equities of the case” exception under Bankruptcy Code

 section 552(b) until expiration of the Challenge Period (as defined herein) unless the Creditors’

 Committee or the other party permitted to do so (including, but not limited to the UMWA) has

 initiated a Challenge (as defined herein), in which case the Prepetition Secured Parties shall

 remain subject to the “equities of the case” exception under Bankruptcy Code section 552(b)

 unless and until such Challenge is resolved in favor of the Prepetition Secured Parties or

 withdrawn by the party that commenced the Challenge.

        7.      Findings Regarding the Use of Cash Collateral and Prepetition Collateral.

                (a)     Good cause has been shown for the entry of this Final Order.

                (b)     The Debtors have an immediate need to use the Cash Collateral to permit,

 among other things, the orderly continuation of their businesses, pay their operating expenses

 and preserve the going concern value of the Debtors.

                (c)     All parties agree that the preservation and maintenance of the Debtors’

 businesses and assets is necessary to maximize value. The continued operation of the Debtors’

 businesses would not be possible and there would be irreparable harm to the Debtors, their

 estates, and their creditors without the Debtors’ ability to use cash collateral. Authorization to

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 use Cash Collateral is therefore (i) critical to the Debtors’ ability to maximize the value of these

 chapter 11 estates, (ii) in the best interests of the Debtors, their estates, and their creditors, and

 (iii) necessary to avoid immediate and irreparable harm to the Debtors, their estates, their

 creditors, and their assets, businesses, goodwill, reputation, employees, and former employees.

                (d)     The terms of the use of the Cash Collateral pursuant to this Final Order are

 fair and reasonable based on the facts and circumstances as presented at the hearing and based on

 other pleadings in the case.

                (e)     The Steering Committee, the Administrative Agent, the Credit Agreement

 Collateral Agent, the First Lien Trustee, the Second Lien Trustee, the 1L Notes Collateral Agent,

 and the 2L Notes Collateral Agent, as applicable, have consented to (or, as applicable, have been

 directed to, or it has been asserted that they are deemed to have consented to pursuant to the

 Intercreditor Agreement referred to below), conditioned upon the entry of this Final Order, the

 Debtors’ proposed use of Cash Collateral, on the terms and conditions set forth in this Final

 Order and in accordance with the Budget Covenant. Pursuant and subject to the terms of the

 Amended and Restated Intercreditor Agreement, dated as of March 27, 2014 (as amended,

 supplemented or otherwise modified from time to time, the “Intercreditor Agreement”), among

 Walter, the other grantors from time to time party thereto, the Credit Agreement Collateral

 Agent, the 1L Notes Collateral Agent, the 2L Notes Collateral Agent, and each additional

 Collateral Agent (as defined in the Intercreditor Agreement) and Authorized Representative (as

 defined in the Intercreditor Agreement) from time to time party thereto, the 1L Notes Collateral

 Agent, the First Lien Noteholders, the 2L Notes Collateral Agent and the Second Lien

 Noteholders are precluded from objecting to the use of Cash Collateral under certain




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 circumstances, including if the Credit Agreement Collateral Agent has consented thereto and the

 adequate protection provisions set forth herein are adhered to.

                 (f)    The continued use of Cash Collateral appears to this Court as having been

 negotiated in good faith and at arms’ length among the Debtors, the Steering Committee, the

 Credit Agreement Collateral Agent (on behalf of the First Lien Lenders) and the Administrative

 Agent, as applicable, and, therefore, the use of the Cash Collateral by the Debtors in accordance

 with the terms of this Final Order shall be deemed to have been extended, issued, or made in

 “good faith.”

                 (g)    On the Petition Date, the Debtors and certain of the Prepetition Secured

 Parties entered into that certain Restructuring Support Agreement (as amended from time to time

 in accordance therewith, the “RSA”), which contains the parties’ agreements and undertakings

 with respect to the Debtors’ restructuring.

        8.       Authorization of Use of Cash Collateral. Subject to the terms of this Final Order

 and in accordance with the Budget Covenant, the Debtors are hereby authorized to use the Cash

 Collateral during the period from the Petition Date through and including the Termination Date

 for: (a) working capital requirements; (b) general corporate purposes; (c) adequate protection

 payments to the Prepetition Secured Parties as contemplated herein; and (d) the costs and

 expenses of administering these Chapter 11 Cases (including payments benefiting from the

 Carve-Out) incurred in the Chapter 11 Cases; provided that the Debtors shall not be authorized to

 use Cash Collateral to pay fees or expenses (x) in excess of $175,000 per month for each of the

 Creditors’ Committee and the Retiree Committee (the “Committee Monthly Cap”) on account of

 all Professional Persons (as defined herein) retained by each such committee in the aggregate, (y)

 in excess of $100,000 (the “Investigation Budget”) for the Creditors’ Committee to investigate

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 (but not prepare, initiate or prosecute) Claims and Defenses (as defined herein) against the

 Prepetition Secured Parties before the termination of the Challenge Period (as defined herein), or

 (z) to initiate or prosecute proceedings or actions (a “Challenge”) on account of any Claims and

 Defenses against the Prepetition Secured Parties.             For the avoidance of doubt and

 notwithstanding any other provision of this Final Order, other than the Investigation Budget

 (which may be used solely for the purposes authorized in paragraph 8 of this Final Order), no

 Cash Collateral, Prepetition Collateral, Collateral or any proceeds thereof, or any portion of the

 Carve-Out may be used directly or indirectly by any Debtor, any official committee appointed in

 the case, including the Creditors’ Committee and Retiree Committee, or any trustee appointed in

 the Chapter 11 Cases or any successor case, or any other person, party or entity to (i) investigate,

 object, contest, or raise any defense to the validity, perfection, priority, extent, or enforceability

 of the Prepetition Obligations, the Prepetition Liens or any action purporting to do any of the

 foregoing; (ii) investigate, assert or prosecute any Claims and Defenses against the Prepetition

 Secured Parties or their respective predecessors-in-interest, agents, affiliates, representatives,

 attorneys, or advisors or any action purporting to do the foregoing in respect of the Prepetition

 Obligations and/or the Prepetition Liens; (iii) prevent, hinder, or otherwise delay the Prepetition

 Secured Parties’ enforcement, or realization on the Prepetition Obligations, Cash Collateral, the

 Prepetition Liens, the Adequate Protection Obligations, or the Adequate Protection Liens in

 accordance with the Final Order; (iv) seek to modify any of the rights granted to the Prepetition

 Secured Parties hereunder (other than with the consents contemplated hereunder); (v) apply to

 the Court for authority to approve superpriority claims or grant liens (other than the Approved

 Liens (as defined below)) in the Collateral or any portion thereof that are senior to, or on parity

 with, the Adequate Protection Liens, the Superpriority Claims or the Prepetition Liens, unless all

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 Prepetition Obligations and claims under the Interim Order and this Final Order have been

 refinanced or paid in full in cash (including the cash collateralization of any letters of credit) or

 otherwise agreed to in writing by the Administrative Agent and the Steering Committee, each in

 its reasonable discretion; or (vi) seek to pay any amount on account of any claims arising prior to

 the Petition Date unless such payments are agreed to in writing by the Steering Committee in its

 reasonable discretion, are authorized in any “first day” orders, are otherwise included in the

 Approved Budget, or as ordered, authorized or approved by this Court.

        9.      Entitlement to Adequate Protection. The Prepetition Secured Parties are entitled

 to adequate protection of their respective interests in the Prepetition Collateral (including, but not

 limited to, the Cash Collateral) on which the Prepetition Secured Parties hold perfected security

 interests as of the Petition Date in an amount equal to the aggregate postpetition diminution in

 value of the Prepetition Collateral, including any Cash Collateral, from and after the Petition

 Date (such diminution in value, the “Diminution in Value”), including, but not limited to, the

 extent such diminution results from the sale, lease or use by the Debtors of the Prepetition

 Collateral, the subordination of the Prepetition Liens to the Carve-Out, or the imposition of the

 automatic stay pursuant to Bankruptcy Code section 362 (such adequate protection, as set forth

 in paragraphs 10 and 11 below, the “Adequate Protection Obligations”).

        10.     Adequate Protection Claims and Liens.

                (a)         Adequate Protection for the First Lien Secured Parties.      As adequate

 protection for the Diminution in Value of the Prepetition Collateral, the First Lien Secured

 Parties are hereby granted the following claims, liens, rights and benefits:

                      (i)      First Lien Superpriority Claim. The Adequate Protection Obligations
                               due to the First Lien Secured Parties (the “First Lien Adequate
                               Protection Obligations”) shall constitute allowed joint and several
                               superpriority claims against each of the Debtors as provided in
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                      Bankruptcy Code section 507(b) (collectively, the “First Lien
                      Superpriority Claim”), with priority over any and all administrative
                      expenses and all other claims against the Debtors, now existing or
                      hereafter arising, of any kind whatsoever, including, without
                      limitation, all other administrative expenses of the kind specified in
                      Bankruptcy Code sections 503(b) and 507(b), and over any and all
                      other administrative expenses or other claims arising under any other
                      provision of the Bankruptcy Code, including, without limitation,
                      Bankruptcy Code sections 105, 326, 327, 328, 330, 331, 365, 503, 506,
                      507(a), 507(b), 546, 552, 726, 1113 or 1114, whether or not such
                      expenses or claims may become secured by a judgment lien or other
                      nonconsensual lien, levy or attachment, subject and subordinate only
                      to the Carve-Out, or as otherwise provided in this Final Order;

               (ii)   First Lien Adequate Protection Liens. Subject to the Carve-Out, as
                      security for the First Lien Adequate Protection Obligations, effective
                      as of the Petition Date and perfected without the necessity of the
                      execution by the Debtors (or recordation or other filing) of security
                      agreements, control agreements, pledge agreements, financing
                      statements, mortgages or other similar documents, or the possession or
                      control by the First Lien Secured Parties of any Postpetition Collateral
                      (as defined below), the following security interests and liens are
                      hereby granted to the First Lien Secured Parties (all such liens and
                      security interests, the “First Lien Adequate Protection Liens”):

                         (A)     Pursuant to Bankruptcy Code sections 361(2) and
                         363(c)(2), a valid, binding, continuing, enforceable, fully-
                         perfected, non-avoidable additional and replacement first priority
                         lien on, and security interest in, all property (including any
                         previously unencumbered property), whether now owned or
                         hereafter acquired or existing and wherever located, of each Debtor
                         and each Debtor’s “estate” (as created pursuant to Bankruptcy
                         Code section 541(a)), of any kind or nature whatsoever, real or
                         personal, tangible or intangible, and now existing or hereafter
                         acquired or created, including, without limitation, all cash,
                         accounts, inventory, goods, contract rights, mineral rights,
                         instruments, documents, chattel paper, patents, trademarks,
                         copyrights, and licenses therefor, accounts receivable, receivables
                         and receivables records, general intangibles, payment intangibles,
                         tax or other refunds, insurance proceeds, letters of credit, owned
                         real estate, real property leaseholds, fixtures, deposit accounts,
                         commercial tort claims, securities accounts, instruments,
                         investment property, letter-of-credit rights, supporting obligations,
                         machinery and equipment, real property, leases (and proceeds from
                         the disposition thereof), all of the issued and outstanding capital
                         stock of each Debtor (other than Walter), other equity or
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                        ownership interests held by a Debtor, including equity interests in
                        subsidiaries and non-wholly-owned subsidiaries, money,
                        investment property, and causes of action (excluding causes of
                        action arising under Bankruptcy Code section 549 and any related
                        action under Bankruptcy Code section 550 and the proceeds of any
                        causes of action under Bankruptcy Code sections 502(d), 544, 545,
                        547, 548, 550 or 553 or the proceeds of any other avoidance
                        actions under the Bankruptcy Code or applicable non-bankruptcy
                        law (collectively, the “Avoidance Actions”)), Cash Collateral, and
                        all cash and non-cash proceeds, rents, products, substitutions,
                        accessions, and profits of any of the collateral described above
                        (except as to the Avoidance Actions), documents, vehicles,
                        intellectual property, securities, partnership or membership
                        interests in limited liability companies and capital stock, including,
                        without limitation, the products, proceeds and supporting
                        obligations thereof, whether in existence on the Petition Date or
                        thereafter created, acquired, or arising and wherever located (all
                        such property (including the Junior Collateral (as defined herein)),
                        other than the Prepetition Collateral in existence immediately prior
                        to the Petition Date, being collectively referred to as, the
                        “Postpetition Collateral” and collectively with the Prepetition
                        Collateral, the “Collateral”), which liens and security interests shall
                        be senior to any and all other liens and security interests other than
                        the Carve-Out, the Bid Protections (as defined below) and the
                        Permitted Priority Liens, if any, and liens granted to third parties
                        on Cash Collateral to secure Approved Collateralized Obligations
                        (as defined below) (the “Approved Liens”).

                        (B)     Subject to the Carve-Out, pursuant to Bankruptcy Code
                        sections 361(2) and 363(c)(2), a valid, binding, continuing,
                        enforceable, fully-perfected non-avoidable junior priority
                        replacement lien on, and security interest in, all property, whether
                        now owned or hereafter acquired or existing and wherever located,
                        of each Debtor and each Debtor’s “estate” (as created pursuant to
                        Bankruptcy Code section 541(a)), property of any kind or nature
                        whatsoever, real or personal, tangible or intangible, and now
                        existing or hereafter acquired or created, including, without
                        limitation, all cash, accounts, inventory, goods, contract rights,
                        mineral rights, instruments, documents, chattel paper, patents,
                        trademarks, copyrights, and licenses therefor, accounts receivable,
                        receivables and receivables records, general intangibles, payment
                        intangibles, tax or other refunds, insurance proceeds, letters of
                        credit, contracts, owned real estate, real property leaseholds,
                        fixtures, deposit accounts, commercial tort claims, securities
                        accounts, instruments, investment property, letter-of-credit rights,
                        supporting obligations, machinery and equipment, real property,
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                          leases (and proceeds from the disposition thereof), all of the issued
                          and outstanding capital stock of each Debtor (other than Walter),
                          other equity or ownership interests held by a Debtor, including
                          equity interests in subsidiaries and non-wholly-owned subsidiaries,
                          money, investment property, causes of action, Cash Collateral, and
                          all cash and non-cash proceeds, rents, products, substitutions,
                          accessions, and profits of any of the collateral described above,
                          documents, vehicles, intellectual property, securities, partnership
                          or membership interests in limited liability companies and capital
                          stock, including, without limitation, the products, proceeds and
                          supporting obligations thereof, whether now existing or hereafter
                          acquired, that is subject only to (x) the Permitted Priority Liens,
                          (y) the Bid Protections or (z) valid and non-avoidable liens in
                          existence immediately prior to the Petition Date that are perfected
                          after the Petition Date to the extent permitted by Bankruptcy Code
                          section 546(b), which valid, perfected and unavoidable liens are
                          senior in priority to the security interests and liens in favor of the
                          Administrative Agent and the First Lien Trustee (the “Junior
                          Collateral”).

                          (C)     Notwithstanding anything in this Final Order to the
                          contrary, the Collateral shall not include, and neither the
                          Prepetition Liens not the Adequate Protection Liens (as defined
                          herein) shall attach to, any causes of action arising under Chapter 5
                          of the Bankruptcy Code, the proceeds of any action arising under
                          Chapter 5 of the Bankruptcy Code, or the proceeds of any other
                          avoidance actions under the Bankruptcy Code or applicable non-
                          bankruptcy law (collectively, the “Avoidance Actions”).

                          (D)     The First Lien Adequate Protection Liens shall not be
                          subject or subordinate to, or pari passu with, (a) any lien or
                          security interest that is avoided and preserved for the benefit of the
                          Debtors and their estates under Bankruptcy Code section 551 or (b)
                          any lien or security interest arising on or after the Petition Date,
                          but subject to the Carve-Out or any stalking horse purchaser bid
                          protections approved by the Steering Committee in its reasonable
                          discretion and approved by the Bankruptcy Court in connection
                          with the Sale Motion (the “Bid Protections”), or (2) except as
                          otherwise set forth in paragraphs 10(a)(ii)(A) and 10(a)(ii)(B)
                          hereof, subordinated to or made pari passu with any other lien,
                          claim or security interest under Bankruptcy Code sections 363 or
                          364 or otherwise.

               (iii)   Carve-Out. For purposes hereof, the “Carve-Out” shall mean,
                       following the Termination Date, the sum of: (A) all fees required to be
                       paid to the Clerk of the Court and the Bankruptcy Administrator
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                     (without regard to the Carve-Out Trigger Notice (as defined herein));
                     (B) reasonable fees and expenses incurred by a trustee appointed under
                     Bankruptcy Code section 726(b) (without regard to the Carve-Out
                     Trigger Notice); (C) subject to the Committee Monthly Cap with
                     respect to Professional Fees incurred by Professional Persons retained
                     by the Creditors’ Committee, the Retiree Committee or any other
                     statutory committee appointed in the Chapter 11 Cases, and subject to
                     any Professional Fees permitted to be incurred by the Creditors’
                     Committee under the Investigation Budget, to the extent allowed,
                     whether by interim order, procedural order or otherwise, all accrued
                     and unpaid reasonable fees, costs, and expenses (the “Professional
                     Fees”) incurred by persons or firms retained by the Debtors, the
                     Creditors’ Committee, the Retiree Committee or any other statutory
                     committee appointed in the Chapter 11 Cases pursuant to Bankruptcy
                     Code section 327, 328, or 363 (collectively, the “Professional
                     Persons”) at any time before or on the day of delivery by the
                     Administrative Agent or Steering Committee of a Carve-Out Trigger
                     Notice (the “Pre-Trigger Date Fees”); and (D) after the delivery by the
                     Administrative Agent or Steering Committee of the Carve-Out Trigger
                     Notice (the “Trigger Date”), to the extent allowed at any time, whether
                     by interim order, procedural order or otherwise, the payment of (1) all
                     Professional Fees of Professional Persons retained by the Debtors and
                     (2) subject to the Committee Monthly Cap, the payment of
                     Professional Fees of Professional Persons incurred by the Creditors’
                     Committee, the Retiree Committee or any other statutory committee
                     appointed in the Chapter 11 Cases, not to exceed $5 million in the
                     aggregate for clauses (1) and (2) incurred after the Trigger Date (the
                     amount set forth in this clause (D) being the “Post-Carve Out Trigger
                     Notice Cap”); provided that nothing herein shall be construed to
                     impair the ability of any party to object to the fees, expenses,
                     reimbursement or compensation described in clauses (C) or (D) above,
                     on any grounds. On the day on which a Carve-Out Trigger Notice is
                     given to the Debtors, such Carve-Out Trigger Notice also shall
                     constitute a demand to the Debtors to utilize all cash on hand as of
                     such date and any available cash thereafter held by any Debtor to fund
                     a reserve in an aggregate amount equal to the accrued and unpaid Pre-
                     Trigger Date Fees plus the Post-Carve Out Trigger Notice Cap, and the
                     Debtors shall deposit and hold any such amounts in a segregated
                     account at a financial institution selected by the Debtors for such
                     purpose and solely for the benefit of the Professional Persons entitled
                     thereto. The reserved funds shall be released from time to time from
                     the segregated account to pay when due any Pre-Trigger Date Fees and
                     any fees and expenses incurred after Post-Carve Out Trigger Notice
                     that are included in the Post-Carve Out Trigger Notice Cap under
                     clause (D) above. Such account and amounts therein shall be free and
                     clear of all liens, claims and interests of any party other than the
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                     Professional Persons entitled thereto. Notwithstanding the foregoing,
                     (X) the Carve-Out shall not include, apply to or be available for any
                     fees or expenses incurred by any party in connection with (1) the
                     investigation, preparation, initiation or prosecution of any claims,
                     causes of action, proceeding, adversary proceeding or other litigation
                     against any of the Prepetition Secured Parties (in such capacity),
                     including challenging the amount, validity, perfection, priority or
                     enforceability of or asserting any defense, counterclaim or offset to,
                     the Prepetition Obligations and the Prepetition Liens granted under the
                     Prepetition Debt Documents in favor of the Prepetition Secured
                     Parties, including, but not limited to, for lender liability or pursuant to
                     Bankruptcy Code section 105, 510, 544, 547, 548, 549, 550 or 552,
                     applicable nonbankruptcy law or otherwise; (2) attempts to modify any
                     of the rights granted to the Prepetition Secured Parties hereunder
                     (other than with the consents contemplated hereunder); (3) attempts to
                     prevent, hinder or otherwise delay any of the Prepetition Secured
                     Parties’ enforcement or realization upon any Collateral in accordance
                     with the Prepetition Debt Documents and this Final Order; or (4)
                     paying any amount on account of any claims arising before the
                     Petition Date unless such payments are approved by an order of this
                     Court, in the Approved Budget or otherwise consented to by the
                     Steering Committee in its reasonable discretion, and (Y) so long as the
                     Carve-Out Trigger Notice shall not have been delivered, the Carve-Out
                     shall not be reduced by the payment of Professional Fees allowed at
                     any time by this Court. Any claim incurred in connection with any of
                     the activities described above (other than as permitted in connection
                     with the Investigation Budget in an amount not exceeding such
                     Investigation Budget) shall not be allowed, treated or payable as an
                     administrative expense claim for purposes of Bankruptcy Code section
                     1129(a)(9)(A). For purposes of the foregoing, “Carve-Out Trigger
                     Notice” shall mean a written notice delivered by the Administrative
                     Agent or the Steering Committee to the Debtors, Debtors’ counsel, the
                     Bankruptcy Administrator, counsel to the Creditors’ Committee and
                     counsel to the Retiree Committee, upon the occurrence and during the
                     continuance of a Termination Event (as defined below), stating that the
                     Post-Carve Out Trigger Notice Cap has been invoked. For the
                     avoidance of doubt and notwithstanding anything to the contrary
                     herein or in the Prepetition Debt Documents, the Carve-Out shall be
                     senior to all liens and claims arising out of the Prepetition Debt
                     Documents, including the Prepetition Liens, the Adequate Protection
                     Liens, the Superpriority Claims, and any and all other forms of
                     adequate protection, liens or claims securing or relating to the
                     Prepetition Obligations.




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                (b)          Adequate Protection for the Second Lien Trustee and Second Lien

 Noteholders. As adequate protection for the Diminution in Value of their liens and interests in

 the Prepetition Collateral, the Second Lien Trustee and the Second Lien Noteholders are hereby

 granted the following claims, liens, rights and benefits:

                      (i)       Second Lien Superpriority Claims.           The Adequate Protection
                                Obligations due to the Second Lien Trustee and the Second Lien
                                Noteholders (the “Second Lien Adequate Protection Obligations”)
                                shall constitute joint and several superpriority claims against the
                                Debtors as provided in Bankruptcy Code section 507(b) (the “Second
                                Lien Superpriority Claim” and together with the First Lien
                                Superpriority Claim, the “Superpriority Claims”), with priority over
                                any and all administrative expenses and all other claims against the
                                Debtors, now existing or hereafter arising, of any kind whatsoever,
                                including, without limitation, all other administrative expenses of the
                                kind specified in Bankruptcy Code sections 503(b) and 507(b), and
                                over any and all other administrative expenses or other claims arising
                                under any other provision of the Bankruptcy Code, including, without
                                limitation, Bankruptcy Code sections 105, 326, 327, 328, 330, 331,
                                365, 503, 506, 507(a), 507(b), 546, 552, 726, 1113 or 1114, whether or
                                not such expenses or claims may become secured by a judgment lien
                                or other nonconsensual lien, levy or attachment, subject and
                                subordinate only to the Carve Out, the First Lien Superpriority Claim,
                                the First Lien Obligations and the Bid Protections.

                      (ii)      Second Lien Adequate Protection Liens. As security for the Second
                                Lien Adequate Protection Obligations, effective as of the Petition Date
                                and perfected without the necessity of the execution by the Debtors (or
                                recordation or other filing) of security agreements, control agreements,
                                pledge agreements, financing statements, mortgages or other similar
                                documents, or the possession or control by the Second Lien Indenture
                                Trustee of any Postpetition Collateral, security interests and liens are
                                hereby granted to the Second Lien Indenture Trustee for the benefit of
                                the Second Lien Noteholders on the Postpetition Collateral, subject
                                and subordinate only to the (A) the Carve-Out, (B) the First Lien
                                Adequate Protection Liens, (C) the liens and security interests securing
                                the First Lien Obligations, (D) the Permitted Priority Liens, (E) the
                                Bid Protections and (F) Approved Liens, and subject further to the
                                Intercreditor Agreement (all such liens and security interests, the
                                “Second Lien Adequate Protection Liens,” and collectively with the
                                First Lien Adequate Protection Liens, the “Adequate Protection
                                Liens”).

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                      (iii)     Notwithstanding anything in this Final Order to the contrary, the
                                Collateral shall not include, and neither the Prepetition Liens not the
                                Adequate Protection Liens (as defined herein) shall attach to, any
                                causes of action arising under Chapter 5 of the Bankruptcy Code, the
                                proceeds of any action arising under Chapter 5 of the Bankruptcy
                                Code, or the proceeds of any other avoidance actions under the
                                Bankruptcy Code or applicable non-bankruptcy law (collectively, the
                                “Avoidance Actions”).

                      (iv)      The Second Lien Adequate Protection Liens shall not be subject or
                                subordinate to, or pari passu with, any lien or security interest that is
                                avoided and preserved for the benefit of the Debtors and their estates
                                under Bankruptcy Code section 551.

                (c)          For the avoidance of doubt, (i) to the extent ACE American Insurance

 Company and/or any of its affiliates (collectively, “ACE”) had valid and perfected liens and/or

 security interests on property (including Cash Collateral) of the Debtors as of the Petition Date,

 which liens and/or security interests were senior to the liens and/or security interests of each of

 the Prepetition Secured Parties, such liens and/or security interests shall be senior to any liens

 and/or security interests granted pursuant to this Order, (ii) the Prepetition Secured Parties do not

 have liens and/or security interests on any letter(s) of credit for which ACE is the beneficiary or

 any proceeds thereof and (iii) this Order does not grant the Debtors any right to use any property

 (or the proceeds thereof) held by ACE as collateral to secure obligations under insurance policies

 and related agreements.

        11.     Additional Adequate Protection. As additional adequate protection:

                (a)          Payments:    The Debtors are authorized to pay in cash to the

 Administrative Agent, for the ratable benefit of the First Lien Lenders (including in respect of

 any unreimbursed drawings on letters of credit), and to the First Lien Trustee, for the ratable

 benefit of the First Lien Noteholders: (i) all interest accrued but unpaid as of the Petition Date

 calculated based on 100% of the applicable non-default contract rate as set forth in the First Lien

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 Credit Documents and the First Lien Indenture Documents, as applicable, by no later than

 December 31, 2015, with such payments to be received by the Administrative Agent and First

 Lien Trustee on or before 12:00 PM (prevailing Eastern time) on such date; and (ii) all interest

 accruing after the Petition Date under the First Lien Credit Documents (with the LIBOR Rate

 under the First Lien Credit Documents fixed at 1.00% per annum for purposes of such

 postpetition interest payments under the First Lien Credit Documents) and the First Lien

 Indenture Documents, respectively, in each case calculated based on 80% of the applicable

 contract non-default rate set forth in the First Lien Credit Documents and the First Lien

 Indenture Documents, as applicable, which postpetition interest shall be payable on a monthly

 basis in equal installments (but subject to adjustment if the principal amount of such

 indebtedness shall be reduced) on the 15th day of each month, or the next business day if the

 15th day is not a business day, with such payments to be received by the Administrative Agent

 and First Lien Trustee on or before 12:00 PM (prevailing Eastern time) on such date. The

 aforementioned payments of interest are without prejudice to the rights of the Administrative

 Agent and the First Lien Trustee (and any party-in-interest’s right to object thereto) to assert a

 claim for payment of additional interest at any other rates in accordance with the applicable

 governing documents but without prejudice to the right of any party-in-interest with standing to

 do so to seek to recharacterize such payments as principal. All computations of postpetition

 interest shall be made on the basis of a year of 360 days and a month of 30 days.

                (b)    Agent/Indenture Trustee Fees and Expenses: The Debtors shall promptly

 pay, in cash, (x) all Letter of Credit Fees and Facing Fees (each as defined in the Credit

 Agreement), and any annual administrative agent fees and other fees set forth in Section 4.01(b)

 through (e) of the Credit Agreement (including, in each case, all amounts set forth in Section

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 4.01(a) through (e) of the Credit Agreement accrued with respect to periods on or prior to the

 Petition Date) on the respective dates for the payment (or, in the case of all amounts accrued as

 of the Petition Date, promptly upon entry of the Interim Order) of all such fees as provided in the

 Credit Agreement, at the applicable non-default rate provided for in the First Lien Credit

 Documents with respect to such fees and (y) upon presentment of an applicable invoice to the

 Debtors (with a copy of such invoice to be presented contemporaneously to the Bankruptcy

 Administrator and counsel for both the Creditors’ Committee and Retiree Committee), all

 reasonable, actual, and documented (in customary detail, redacted for privilege and work

 product) fees, costs and expenses incurred by each of the Administrative Agent and the First

 Lien Trustee, including, without limitation, the fees, costs and expenses of one lead counsel, one

 local counsel (if necessary) and, if needed, one Canadian counsel for each of the Administrative

 Agent and the First Lien Trustee, in each case in accordance with the applicable engagement

 letters (if any) and the Prepetition Debt Documents and without further order of, or application

 to, the Court or notice to any party other than as provided in this paragraph 11(b) and paragraph

 11(f).

                (c)    Steering Committee Fees and Expenses. The Debtors shall promptly pay

 in cash all reasonable, actual, and documented (in customary detail, redacted for privilege and

 work product) fees, costs and expenses of (i) Akin Gump Strauss Hauer & Feld LLP (“Akin

 Gump”), as lead counsel, Burr Forman LLP (“Burr Forman”), as Alabama counsel, Cassels

 Brock & Blackwell LLP (“Cassels”), as Canadian counsel, Jackson Kelly LLP (“Jackson

 Kelly”), as West Virginia counsel, Lazard Frères & Co. LLC (“Lazard”), as financial advisor

 (including the Restructuring Fee as defined in Lazard’s engagement letter), and Stephen Douglas

 Williams Consulting LLC, as consultant, to the Steering Committee (“Williams Consulting” and

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 together with Akin Gump, Burr Forman, Cassels, Jackson Kelly and Lazard, the “Steering

 Committee Advisors”) and (ii) any other consultants or advisors retained by the Steering

 Committee (and not by individual Steering Committee members) (the parties described in this

 paragraph 11(c)(ii), collectively, the “Consultants”) in connection with the Restructuring (as

 defined in the RSA); provided that the Steering Committee shall provide notice to the Debtors

 prior to retaining any such Consultants, in each case, in accordance with engagement letters (if

 any) of such professional, and in each case, without further order of, or application to, the Court

 or notice to any party other than as provided in this paragraph 11(c) and paragraph 11(f);

 provided that no success fees shall be payable to Williams Consulting or any Consultant. In

 addition, the Debtors shall promptly reimburse each Steering Committee member in cash for all

 reasonable and documented out-of-pocket costs and expenses (without limiting the Debtors’

 obligations pursuant to the previous sentence, which out-of-pocket costs and expenses should not

 include any advisor or professional fees for such individual Steering Committee member)

 incurred by such member in connection with the Restructuring.

                (d)    Credit Bidding. The Administrative Agent (on behalf of the First Lien

 Lenders), the First Lien Trustee (on behalf of the First Lien Noteholders) and the Second Lien

 Trustee (on behalf of the Second Lien Noteholders) (but only if any such credit bid provides, to

 the extent set forth in the Intercreditor Agreement, for the payment in full and in cash of all

 Prepetition Obligations owed to the First Lien Secured Parties and any amounts due and owing

 to the First Lien Secured Parties under the Interim Order and this Final Order, and provides for

 the cash collateralization of any letters of credit in accordance with the First Lien Credit

 Documents, the Interim Order and this Final Order), as applicable, shall have the right to credit

 bid (X) up to the full amount of the remaining Prepetition Obligations under the First Lien Credit

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 Documents, First Lien Indenture Documents and the Second Lien Indenture Documents,

 respectively and (Y) the First Lien Superpriority Claims, the Second Lien Superpriority Claims,

 and any unpaid amounts due and owing under paragraph 11(a) through (c) hereof, as applicable,

 in the sale of any of the Collateral, including, without limitation, (a) pursuant to Bankruptcy

 Code section 363, (b) a plan of reorganization or a plan of liquidation under Bankruptcy Code

 section 1129, or (c) a sale or disposition by a chapter 7 trustee for any Debtor under Bankruptcy

 Code section 725. Any such credit bid is subject, however, to the right of the Creditors’

 Committee, Retiree Committee or other interested parties to seek to limit the credit bid in the

 event a Challenge has been filed and not yet resolved.

                (e)    Reporting and Budget Compliance.        The Debtors shall comply in all

 respects with the provisions of this paragraph 11(e) (the “Budget Covenant”). The initial budget

 shall cover the 12-week period beginning the business week of the Petition Date (the “Initial

 Budget Period”) and be in the form attached hereto as Exhibit A (the “Initial Budget”). On or

 before the last business day of the tenth week of the Initial Budget Period, the Debtors shall

 deliver an updated budget (the “Second Budget”) for the 12-week period following the Initial

 Budget Period (the “Second Budget Period”). On or before the last business day of the tenth

 week of the Second Budget Period, the Debtors shall deliver an updated budget (the “Third

 Budget” and, together with the Initial Budget and the Second Budget, collectively, the

 “Budgets”) for the 12-week period following the Second Budget Period (the “Third Budget

 Period”). The Budgets shall be delivered to the Steering Committee and the Administrative

 Agent, with a copy delivered to the Creditors’ Committee; provided that, the Budgets may be

 shared on a confidential basis with those Prepetition Secured Parties that have signed a

 confidentiality agreement or are otherwise subject to confidentiality restrictions pursuant to the

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 Prepetition Debt Documents. The Initial Budget was the first budget utilized for reporting and

 permitted variance purposes (the “Approved Budget”).          The Second Budget and the Third

 Budget provided thereafter shall be of no force and effect unless and until such budget is

 approved by the Steering Committee and the Administrative Agent, each in its reasonable

 discretion.   The Steering Committee and the Administrative Agent, each in its reasonable

 discretion, shall approve or reject the Second Budget or the Third Budget within eleven (11) days

 after the last day that delivery thereof is permitted as set forth above; provided that, each of the

 Second Budget and the Third Budget shall be deemed approved upon the passage of such eleven

 (11) day period with no objection raised by the Steering Committee and the Administrative

 Agent. Further, each such budget shall be served on Committee Counsel and each shall have the

 right to object to or challenge such budget; provided, however, that if such challenge or objection

 is overruled or denied, no fees may be requested, allowed or approved by any professional with

 regard to such Budget Challenge or objection, and any related hearings. Upon the approval by

 the Steering Committee and the Administrative Agent, each of the Second Budget and the Third

 Budget shall become the “Approved Budget” for the Second Budget Period and the Third Budget

 Period, as applicable. Every week (beginning with the first full week after the Petition Date), on

 the fifth business day of such week, the Debtors shall deliver to the Steering Committee

 Advisors, the advisors to the Administrative Agent, the advisors to the Creditors’ Committee and

 counsel to the Second Lien Trustee, a weekly variance report from the previous week comparing

 the actual cash receipts and disbursements of the Debtors with the receipts and disbursements in

 the Approved Budget (the “Budget Variance Report”); provided that, the Budget Variance

 Report may be shared on a confidential basis with the Administrative Agent, the Steering

 Committee and the Second Lien Trustee. The Budget Variance Report shall include, among

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 other things, (a) details regarding amounts paid under any order of the Court; (b) a detailed

 comparison, including commentary, of each week’s performance against the Approved Budget;

 and (c) a detailed comparison, including commentary, of aggregate performance since the

 commencement of the Approved Budget against such Approved Budget. The Debtors shall not

 allow (x) (i) “Cumulative Net Cash Flow” for the relevant Testing Period to have a negative

 variance of more than $20 million from the “Cumulative Net Cash Flow” line item set forth in

 the Initial Budget and (ii) “Cumulative Disbursements” for the relevant Testing Period to have a

 negative variance of more than the greater of (a) $7.5 million and (b) 5% of “Cumulative

 Disbursements” set forth in the Initial Budget for the relevant Testing Period from the

 “Cumulative Disbursements” line item set forth in the Initial Budget, (y) (i) “Cumulative Net

 Cash Flow” for the relevant Testing Period to have a negative variance of more than $20 million

 from the “Cumulative Net Cash Flow” line item set forth in the Second Budget and (ii)

 “Cumulative Disbursements” for the relevant Testing Period to have a negative variance of more

 than the greater of (a) $7.5 million and (b) 5% of “Cumulative Disbursements” set forth in the

 Second Budget for the relevant Testing Period from the “Cumulative Disbursements” line item

 set forth in the Second Budget, and (z) (i) “Cumulative Net Cash Flow” for the relevant Testing

 Period to have a negative variance of more than $20 million from the “Cumulative Net Cash

 Flow” line item set forth in the Third Budget and (ii) “Cumulative Disbursements” for the

 relevant Testing Period to have a negative variance of more than the greater of (a) $7.5 million

 and (b) 5% of “Cumulative Disbursements” set forth in the Third Budget for the relevant Testing

 Period from the “Cumulative Disbursements” line item set forth in the Third Budget. For

 purposes of the Cumulative Net Cash Flow and Cumulative Disbursements variance tests set

 forth above, (i) “Testing Period” shall mean (x) with respect to clause (x) in the prior sentence,

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 the first two week period of the Initial Budget Period, and each cumulative period beginning with

 the beginning of the Initial Budget Period and ending every two weeks after the first two week

 period, (y) with respect to clause (y) in the prior sentence, the first two week period of the

 Second Budget Period, and each cumulative period beginning with the beginning of the Second

 Budget Period and ending every two weeks after the first two week period, and (z) with respect

 to clause (z) in the prior sentence, the first two week period of the Third Budget Period, and each

 cumulative period beginning with the beginning of the Third Budget Period and ending every

 two weeks after the first two week period; and (ii) “Cumulative Net Cash Flow” and

 “Cumulative Disbursements” shall not include, but shall otherwise be permitted to be paid in

 accordance herewith, (w) adequate protection payments, (x) fees and expenses of professionals

 retained outside the ordinary course of business, (y) the Debtors’ use of the Cash Collateral to

 collateralize any new, replaced or renewed letters of credit, surety bonds or workers’

 compensation obligations, in each case, that has been consented to by the Steering Committee in

 its reasonable discretion (collectively, the “Approved Collateralized Obligations”), and (z) key

 employee retention payments approved by both the Steering Committee and the Court. The

 Debtors shall not allow cumulative capital expenditures beginning July 1, 2015, as calculated on

 a GAAP basis, to exceed the amounts set forth in the Debtors’ projected capital expenditure

 budget attached as an exhibit to the Initial Budget by more than the greater of (x) $5 million and

 (y) 20%. Such capital expenditure variance shall be tested as of the end of each calendar month,

 and the Debtors shall deliver to the Steering Committee Advisors, the advisors to the

 Administrative Agent and the advisors to the Creditors’ Committee a variance report calculating

 such variance no later than 15 business days following the end of each calendar month,

 beginning with July 2015.

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                (f)     Requirement of invoices. Any and all fees, costs and expenses requested

 to be paid pursuant to paragraphs 11(b) or (c) of this Final Order shall be requested by

 submitting a monthly invoice to the Debtors, the Creditors’ Committee, the Retiree Committee

 and the Bankruptcy Administrator (the “Fee Review Parties”). The Fee Review Parties shall

 have ten (10) days following receipt of a monthly invoice to review such invoice (the “Fee

 Review Period”) and, to the extent appropriate, object to the reasonableness of any or all fees or

 expenses described therein. At the expiration of the Fee Review Period the Debtors shall be

 authorized to pay the uncontested portion of any invoice submitted pursuant to paragraphs 11(b)

 or (c) of this Final Order. To the extent that any of the Fee Review Parties have objected to a

 monthly invoice submitted pursuant to paragraphs 11(b) or (c) of this Final Order, the relevant

 Fee Review Party and First Lien Secured Party Advisor, Administrative Agent or First Lien

 Trustee as the case may be, shall meet and confer in an effort to resolve the dispute. To the

 extent that the dispute cannot be resolved consensually within ten (10) days after the expiration

 of the Fee Review Period, the dispute shall be resolved by this Court. Provided, however, that if

 this Court finds or determines that any such challenge or contest is or was unfounded,

 inappropriate or without merit, all fees associated with such challenge or contest asserted or

 claimed by a Fee Review Party will be disallowed and not approved.

                (g)     Access to Records/Financial Reporting.        In addition to, and without

 limiting, whatever rights of access the Prepetition Secured Parties have under the Prepetition

 Debt Documents, upon reasonable notice, at reasonable times and subject to appropriate

 confidentiality protections, the Debtors shall permit representatives and agents of the Steering

 Committee, the Creditors’ Committee, the Retiree Committee, and the Administrative Agent

 (i) to have access to and inspect the Debtors’ properties, subject to reasonable safety precautions,

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 (ii) to examine the Debtors’ books and records, and (iii) to discuss the Debtors’ affairs, finances

 and condition with the Debtors’ officers and financial advisors. In addition, the Debtors shall

 provide to the Steering Committee Advisors, the advisors to the Administrative Agent, the

 Creditors’ Committee, the Retiree Committee, and the UMWA, on a monthly basis, reports

 setting forth (i) substantive mine-by-mine details of the Debtors’ operating performance,

 including its non-debtor subsidiaries and (ii) a detailed comparison, including commentary, of

 the month’s actual operating performance against the projections, substantially in form and

 substance consistent with the Company’s historical monthly reporting to the Board of Directors,

 as modified to include summary mine-level operating and financial data.

                (h)     Executory Contracts and Unexpired Leases. The Debtors will confer with

 the Steering Committee and its advisors to determine which executory contracts and unexpired

 leases should be assumed or rejected by the Debtors. The Debtors will provide the Steering

 Committee and its advisors with all necessary information in order to analyze such a decision.

 Other than in connection with the 363 Sale (as defined in the RSA) where the Purchaser (as

 defined in the Sale Term Sheet attached as Exhibit C to the RSA) is not the winning bidder for

 the Assets (as defined in the RSA), the Debtors shall not make any decision with regard to the

 assumption or rejection of executory contracts and unexpired leases without first obtaining the

 consent of the Steering Committee, which consent shall be in its reasonable discretion.

                (i)     Employee Incentive/Retention Plans. The Debtors have agreed not to seek

 approval of any employee incentive or retention plans (or any similar sort of retention or

 incentive program) without the prior written consent of the Steering Committee, which consent

 shall be in its reasonable discretion.




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            (j)      Other Covenants.

                     1. The Debtors shall maintain their cash management arrangements in a
                        manner consistent in all material respects with that described in The
                        Debtors’ Motion for an Order (A) (I) Approving Continued Use of the
                        Debtors’ Existing Cash Management System; (II) Authorizing Use of
                        Existing Bank Accounts and Checks; (III) Waiving the Requirements of
                        11 U.S.C. 345(b); (IV) Granting Administrative Expense Status to
                        Certain Postpetition Intercompany Claims; and (V) Authorizing the
                        Continuation of Certain Intercompany Transactions; and (B) Granting
                        Related Relief (the “Cash Management Motion”) [Docket No. 38], as
                        modified by the order approving the Cash Management Motion
                        [Docket No. 332] (as may be further amended).

                     2. Except as expressly permitted under the RSA, the Sale Motion (as
                        defined in the RSA) or other “first day” pleadings, the Debtors shall
                        not use, sell or lease any material assets outside the ordinary course of
                        business, or seek authority of this Court to the extent required by
                        Bankruptcy Code section 363, without obtaining the prior written
                        consent of the Steering Committee, which consent shall be in its
                        reasonable discretion, and prior consultation with the Administrative
                        Agent and the First Lien Trustee at least five (5) business days prior to
                        the date on which the Debtors seek the Court’s authority for such use,
                        sale or lease. Subject to paragraph 10(a)(iii) hereof and the rights of
                        any holder of a Permitted Priority Lien thereon, in the event of any
                        such sale, lease, transfer, license, or other disposition of property of
                        the Debtors (other than a disposition of all or substantially all of the
                        Debtors’ assets) that constitutes Collateral outside the ordinary course
                        of business (to the extent permitted by the Prepetition Debt Documents
                        and this Final Order) the Debtors are authorized, without further notice
                        or order of this Court, to immediately pay to the Administrative Agent
                        or Indenture Trustees, as appropriate under the Intercreditor
                        Agreement, for the benefit of the applicable Prepetition Secured
                        Parties, 100% of the net cash proceeds resulting therefrom no later
                        than the second business day following receipt of such proceeds. In
                        the event of any casualty, condemnation, or similar event with respect
                        to property that constitutes Collateral, the Debtors are authorized to
                        pay to the Administrative Agent or Indenture Trustees, as appropriate
                        under the Intercreditor Agreement, for the benefit of the applicable
                        Prepetition Secured Parties, any insurance proceeds, condemnation
                        award, or similar payment (excluding any amounts on account of any
                        D&O policies) in excess of $2,000,000 no later than the second
                        business day following receipt of payment by the Debtors unless the
                        applicable Prepetition Secured Parties consent, each in their reasonable
                        discretion but subject to the Intercreditor Agreement, in writing, to the
                        funds being reinvested by the Debtors.
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                (k)     Restrictions on the Use of Collateral with Respect to Foreign and Non-

 Debtor Affiliates. The Debtors shall not transfer or use any Collateral, including any Cash

 Collateral, to or for the benefit of any direct or indirect foreign or non-debtor affiliate or

 subsidiary of the Debtors, including, without limitation, in connection with any professional fees

 and expenses incurred with respect to any restructuring of such subsidiary or affiliate, provided

 that the Debtors shall be permitted to make payments for the benefit of its foreign and non-debtor

 affiliates or subsidiaries (i) as expressly provided in an Approved Budget or (ii) with the prior

 consent of the Steering Committee, which consent shall be in its reasonable discretion

 (“Permitted Non-Debtor Affiliate Payments”) and, other than with respect to any payments made

 to or for the benefit of Black Warrior Methane Corp. and Black Warrior Transmission Corp., any

 such Permitted Non-Debtor Affiliate Payments shall be made pursuant to senior secured notes,

 which notes shall be pledged to the First Lien Secured Parties. For the avoidance of doubt, in the

 event that any Permitted Non-Debtor Affiliate Payment is made to any one or more Canadian

 Entity (as defined below), each such Canadian Entity shall grant liens against all of its present

 and future property, assets and undertaking, and all other Canadian Entities shall (i) guarantee

 repayment of such Permitted Non-Debtor Affiliate Payment and (ii) grant liens against all of

 their respective present and future property, assets and undertaking as security for such guarantee

 obligations, and each such Permitted Non-Debtor Affiliate Payment and all of such guarantees

 and security shall be assigned and pledged by the maker of such Permitted Non-Debtor Affiliate

 Payment in favor of the First Lien Secured Parties, and in each such case, the form of the note(s),

 security and guarantees shall be in form and substance satisfactory to the Steering Committee in

 its reasonable discretion.


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                  (l)    Right to Seek Additional Adequate Protection. The Interim Order and this

 Final Order are without prejudice to, and do not constitute a waiver of, expressly or implicitly,

 the rights of the Prepetition Secured Parties to request additional forms of adequate protection at

 any time or any party-in-interest’s right to object thereto. Any such request must be consistent

 with the Intercreditor Agreement.

                  (m)    Independent Director of Canadian Entities. Within a reasonable period of

 time prior to taking any steps towards commencing a sale, marketing, restructuring or similar

 process with respect to the direct or indirect subsidiaries of Walter that are formed, incorporated

 or otherwise domiciled in Canada (each, a “Canadian Entity” and collectively, the “Canadian

 Entities”), Walter shall cause to be appointed to the board of Walter Energy Canada Holdings,

 Inc. an independent director mutually agreeable to the Debtors and the Steering Committee, or if

 the RSA is assumed, the Debtors and the Majority Holders (as defined in the RSA) (and, upon

 the request of such independent director, Walter shall cause such independent director to be

 appointed to the board of any other Canadian Entity so requested).

         12.      Termination. The Debtors’ right to use the Cash Collateral pursuant to this Final

 Order    shall     automatically   terminate   (the   date   of   any    such    termination,   the

 “Termination Date”) without further notice or court proceeding on the earliest to occur of (i) the

 later of (x) February 13, 2016, (y) if applicable, the “Outside Date” under the Stalking Horse

 Agreement (or the asset purchase agreement for the Successful Bidder as per the Sale Motion)

 not to exceed an additional 30 days; provided, however, that in no event shall such date extend

 beyond March 14, 2016, unless otherwise ordered by this Court, or (z) such other date as may be

 agreed to by the Steering Committee in writing in its reasonable discretion, (ii) the effective date

 of any confirmed chapter 11 plan in any of the Chapter 11 Cases, (iii) the date of the

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 consummation of a sale or other disposition of all or substantially all of the assets of the Debtors,

 and (iv) the occurrence of any of the events set forth in this paragraph 12(a) through (m) below,

 unless waived by the Administrative Agent and the Steering Committee, each in its reasonable

 discretion (each of the following events, a “Termination Event” and collectively, the

 “Termination Events”):

                (a)     the Debtors’ failure to: (i) use the Collateral, including but not limited to

 Cash Collateral, in a manner consistent with the Approved Budget, but subject to the Budget

 Covenant, and otherwise comply in any respect with any provision of this Final Order (including,

 but not limited to, the failure to make the payments identified in paragraphs 11(a), (b) and (c)

 when due in accordance with and under the terms hereof); or (ii) comply with any other covenant

 or agreement specified in this Final Order (including any obligations to comply with the

 provisions of paragraph 11 or the covenants and other obligations of the Debtors contained

 therein); in each case where such failure shall have continued unremedied for five (5) business

 days following receipt of written notice by the Debtors from the Administrative Agent or the

 Steering Committee of such failure;

                (b)     (i) an application, motion or other pleading shall have been filed by any

 Debtor seeking to amend, stay, supplement, vacate, extend or modify in any manner the

 Prepetition Secured Parties’ rights or benefits under this Final Order; or (ii) an order shall have

 been entered reversing, amending, supplementing, extending, staying, vacating, or otherwise

 modifying in any manner this Final Order, in each case, without the prior written consent of the

 Steering Committee and the Administrative Agent, each in its reasonable discretion;

                (c)     the date any provision of this Final Order shall for any reason cease to be

 valid and binding or any Debtor shall so assert in any pleading filed in any court;

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                (d)     the date (i) any Chapter 11 Case shall be dismissed or converted to a case

 under chapter 7 of the Bankruptcy Code or any Debtor shall file a motion or other pleading

 seeking the dismissal or conversion of any Chapter 11 Case pursuant to Bankruptcy Code section

 1112 or otherwise other than as expressly contemplated by the Restructuring (as defined in the

 RSA); or (ii) a trustee, responsible officer, or an examiner (other than a fee examiner) pursuant to

 Bankruptcy Code section 1104 is appointed or elected, as applicable, in any Chapter 11 Case,

 any Debtor applies for, consents to, or acquiesces in, any such appointment, or the Court shall

 have entered an order providing for such appointment, in each case without the prior written

 consent of the Steering Committee in its reasonable discretion;

                (e)     the Court shall have entered an order granting relief from the automatic

 stay to the holder or holders of any security interest to permit foreclosure (or the granting of a

 deed in lieu of foreclosure of the like) on any of the Debtors’ assets (other than in respect of

 insurance proceeds or with respect to assets having a fair market value of less than $1,000,000);

                (f)     other than with respect to bid protections approved by the Steering

 Committee in its reasonable discretion and as part of the Sale Motion, any Debtor shall have

 filed a motion or application for the approval of any superpriority claim or any lien in the

 Chapter 11 Cases (other than such claim or lien granted or permitted pursuant to this Final

 Order), which is pari passu with or senior to any of the Adequate Protection Liens, Superpriority

 Claims or Prepetition Liens, without the prior consent of the Steering Committee and the

 Administrative Agent, each in its reasonable discretion;

                (g)     other than with respect to the Carve-Out, the Approved Liens or any bid

 protections approved by the Steering Committee in its reasonable discretion and as part of the

 Sale Motion, any Debtor shall create or incur, or the Court enters an order granting, any claim

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 which is pari passu with or senior to any of the Prepetition Liens or Prepetition Obligations or

 the Adequate Protection Liens and Adequate Protection Obligations granted under the Interim

 Order or this Final Order;

                (h)     unless otherwise agreed to in writing by the Steering Committee in its

 reasonable discretion or unless otherwise ordered by this Court, the (i) consummation of a sale or

 disposition of any material assets of the Debtors other than in the ordinary course of business, (ii)

 as provided for in the Order approving the RSA, or (iii) termination of the RSA;

                (i)     commencement of any action, including the filing of any pleading, by any

 Debtor, or direct or indirect non-debtor affiliate or subsidiary of a Debtor, against any of the

 Prepetition Secured Parties with respect to any of the Prepetition Obligations or Prepetition Liens

 other than as expressly contemplated in the RSA;

                (j)     unless otherwise agreed to in writing by the Steering Committee in its

 reasonable discretion, or unless otherwise ordered by this Court, the Canadian Entities

 commence, or become subject to, any restructuring or insolvency proceeding in any jurisdiction;

                (k)     unless otherwise agreed to in writing by the Steering Committee in its

 reasonable discretion, commencement of a sale process or other actions in furtherance of a

 disposition of any material assets of the Canadian Entities;

                (l)     unless otherwise agreed to in writing by the Steering Committee in its

 reasonable discretion, incurrence of any new secured debt or any unsecured debt, which

 unsecured debt is incurred outside of the ordinary course of business (other than as it relates to

 the Permitted Non-Debtor Affiliate Payments or cash collateralization of the Canadian LCs using

 the cash on hand as of the Petition Date held by the Canadian Entities), by any of the Canadian

 Entities; or

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                (m)    unless an order approving the RSA Assumption Motion (as defined in the

 RSA), which order includes a waiver or modification of the automatic stay to provide any notices

 contemplated by and in accordance with the RSA or this Final Order, as applicable, has been

 entered by the Court within seventy-five (75) days of the Petition Date.

        13.     Remedies Upon a Termination Event. The Debtors shall immediately provide

 notice to the Steering Committee, the Administrative Agent and each of the Indenture Trustees

 (with a copy to counsel for the Creditors’ Committee, counsel to the Retiree Committee, counsel

 to the First Lien Trustee, counsel to the Second Lien Trustee and the Bankruptcy Administrator),

 of the occurrence of any Termination Event, at which time the Debtors’ ability to use Cash

 Collateral hereunder shall terminate and the Adequate Protection Obligations shall become due

 and payable. Upon the occurrence of a Termination Event and following the giving of not less

 than five (5) business days’ advance written notice (the “Enforcement Notice”) to counsel to the

 Debtors, counsel to the Creditors’ Committee, counsel to the Retiree Committee, the UMWA,

 and the Bankruptcy Administrator (the “Notice Period”), the Prepetition Secured Parties (subject

 as among themselves to the terms of the Intercreditor Agreement), may exercise any remedies

 available to them under this Final Order, the Prepetition Debt Documents and applicable non-

 bankruptcy law, including but not limited to (a) set off and apply immediately any and all

 amounts in accounts maintained by the Debtors against the Adequate Protection Obligations and

 Prepetition Obligations owed to the Prepetition Secured Parties and otherwise enforce rights

 against the Collateral for application towards the Adequate Protection Obligations and

 Prepetition Obligations; (b) take any and all actions necessary to take control of the Collateral,

 including any Cash Collateral; and (c) take any other actions or exercise any other rights or

 remedies permitted under this Final Order, the Prepetition Debt Documents or applicable law to

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 effect the repayment and satisfaction of the Adequate Protection Obligations and Prepetition

 Obligations owed to the Prepetition Secured Parties. The rights and remedies of the Prepetition

 Secured Parties specified herein are cumulative and not exclusive of any rights or remedies that

 they may otherwise have. The only permissible basis for the Debtors, the Creditors’ Committee,

 the Bankruptcy Administrator or any other party to contest, challenge or object to an

 Enforcement Notice shall be solely with respect to the validity of the Termination Event(s)

 giving rise to such Enforcement Notice (i.e. whether such Termination Events validly occurred

 and have not been cured or waived in accordance with this Final Order). Unless otherwise

 ordered by this Court, the automatic stay pursuant to Bankruptcy Code section 362 shall be

 automatically terminated at the end of the Notice Period, without further notice or order of the

 Court, unless the Prepetition Secured Parties elect otherwise in a written notice to the Debtors,

 and the Prepetition Secured Parties shall be permitted to exercise all rights and remedies,

 including with respect to the Collateral (including, without limitation, any Cash Collateral), set

 forth in this Final Order, the Prepetition Debt Documents and the Intercreditor Agreement, and

 as otherwise available at law without further order or application or motion to the Court, and

 without restriction or restraint by any stay under Bankruptcy Code sections 362 or 105 or

 otherwise.

        14.     Perfection of Adequate Protection Liens.

                (a)     The Administrative Agent, the Credit Agreement Collateral Agent, the

 First Lien Trustee, the 1L Notes Collateral Agent, the Second Lien Trustee and the 2L Notes

 Collateral Agent are each hereby authorized, but not required, to file or record financing

 statements, intellectual property filings, mortgages, notices of lien or similar instruments in any

 jurisdiction in order to validate and perfect the liens and security interests granted to it hereunder.

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 Whether or not the Administrative Agent, the Credit Agreement Collateral Agent, the First Lien

 Trustee, the 1L Notes Collateral Agent, the Second Lien Trustee or the 2L Notes Collateral

 Agent, each in its respective reasonable discretion, chooses to file such financing statements,

 intellectual property filings, mortgages, notices of lien or similar instruments, such liens and

 security interests shall be deemed valid, perfected, allowed, enforceable, non-avoidable and not

 subject to challenge, dispute, subordination, contest, attack, objection, recoupment, defense,

 setoff, counterclaim, avoidance, recharacterization, reclassification, reduction, disallowance,

 recovery, disgorgement, attachment, “claim” (as defined in the Bankruptcy Code), impairment,

 subordination (whether equitable, contractual or otherwise) or other challenge of any kind

 pursuant to the Bankruptcy Code or applicable nonbankruptcy law as of the Petition Date. If the

 Administrative Agent, the Credit Agreement Collateral Agent, the First Lien Trustee, the 1L

 Notes Collateral Agent, the Second Lien Trustee or the 2L Notes Collateral Agent determines to

 file any financing statements, notices of liens or similar instruments, the Debtors will cooperate

 and assist in any such filings as reasonably requested by the Administrative Agent, the Credit

 Agreement Collateral Agent, the First Lien Trustee, the 1L Notes Collateral Agent, the Second

 Lien Trustee or the 2L Notes Collateral Agent, as applicable, and the automatic stay shall be

 modified to allow such filings.

                (b)     The Administrative Agent, the Credit Agreement Collateral Agent, the

 First Lien Trustee, the 1L Notes Collateral Agent, the Second Lien Trustee or the 2L Notes

 Collateral Agent, may, each in its respective discretion, cause a certified copy of this Final Order

 to be filed with or recorded in filing or recording offices in addition to or in lieu of such

 financing statements, mortgages, notices of lien or similar instruments, and all filing offices are

 hereby authorized to accept such certified copy of this Final Order for filing and recording.

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                (c)     The Debtors shall execute and deliver to the Administrative Agent, the

 Credit Agreement Collateral Agent, the First Lien Trustee, the 1L Notes Collateral Agent, the

 Second Lien Trustee or the 2L Notes Collateral Agent all such agreements, financing statements,

 instruments and other documents as each such party may reasonably request to evidence,

 confirm, validate or perfect the Adequate Protection Liens.

                (d)     Notwithstanding anything to the contrary in the Motion or this Final

 Order, for purposes of this Final Order, in no event shall the Collateral include or the Adequate

 Protection Liens granted under this Final Order attach to, any lease, license, permit, contract, or

 agreement (including any operating and joint venture agreements) or other property right, to

 which any Debtor is a party, or any of such relevant Debtor’s rights or interests thereunder, if

 and for so long as the grant of such security interest would constitute or result in: (i) the

 abandonment, invalidation, unenforceability, or other impairment of any right, title, or interest of

 any Debtor therein, or (ii) a breach or termination pursuant to the terms of, or a default under,

 any such lease, license, contract, agreement, or other property right pursuant to any provision

 thereof, unless, in the case of each of clauses (i) and (ii), the applicable provision is rendered

 ineffective by applicable non-bankruptcy law or the Bankruptcy Code (such leases, licenses,

 contracts or agreements, or other property rights are collectively referred to as the “Specified

 Contracts”); provided that the foregoing shall not preclude any counterparty to a Specified

 Contract from an opportunity to be heard in this Court on notice with respect to whether

 applicable non-bankruptcy law or the Bankruptcy Code renders such provision ineffective.

 Notwithstanding the foregoing, the Adequate Protection Liens shall in all events attach to all

 proceeds, products, offspring, or profits from all sales, transfers, dispositions, or monetizations of

 any and all Specified Contracts.

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          15.   Preservation of Rights Granted Under this Final Order.

                (a)     Notwithstanding any order dismissing any of these Chapter 11 Cases

 under Bankruptcy Code section 1112 or otherwise entered at any time, (i) the Superpriority

 Claims, the other administrative claims granted pursuant to the Interim Order or this Final Order,

 the Carve-Out and the Adequate Protection Liens shall continue in full force and effect and shall

 maintain their priorities as provided in this Final Order until all Adequate Protection Obligations

 and the Carve Out shall have been paid and satisfied in full (and such Superpriority Claims, the

 other administrative claims granted pursuant to the Interim Order or this Final Order, the Carve

 Out and the Adequate Protection Liens shall, notwithstanding such dismissal, remain binding on

 all parties in interest), and (ii) this Court shall retain jurisdiction, notwithstanding such dismissal,

 for the purposes of enforcing the claims, liens and security interests referred to in clause (i)

 above.

                (b)     If any or all of the provisions of this Final Order are hereafter reversed,

 modified, vacated or stayed, such reversal, stay, modification or vacatur shall not affect: (i) the

 validity, priority or enforceability of any Adequate Protection Obligations incurred prior to the

 date of the entry of an order granting such reversal, stay, modification or vacatur (the “Reversal

 Order”); or (ii) the validity, priority or enforceability of the Adequate Protection Liens securing

 such Adequate Protection Obligations. Notwithstanding any such reversal, stay, modification or

 vacatur, any use of the Collateral (including the Cash Collateral) or any Adequate Protection

 Obligations incurred by the Debtors hereunder or under the Interim Order, as the case may be,

 prior to the date of the entry of the Reversal Order shall be governed in all respects by the

 original provisions of this Final Order, and (x) the First Lien Secured Parties shall be entitled to

 all of the rights, remedies, privileges and benefits granted in Bankruptcy Code section 363(m)

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 with respect to all uses of the Collateral (including the Cash Collateral) and such First Lien

 Adequate Protection Obligations for periods prior to the date of the entry of the Reversal Order

 and (y) subject to the Intercreditor Agreement, the Second Lien Trustee and the Second Lien

 Noteholders shall be entitled to all of the rights, remedies, privileges and benefits granted in

 Bankruptcy Code section 363(m) with respect to all uses of the Collateral (including the Cash

 Collateral) (other than Collateral constituting setoff rights of the First Lien Secured Parties) and

 all Second Lien Adequate Protection Obligations for periods prior to the date of the entry of the

 Reversal Order.

                (c)     Except as expressly provided in this Final Order, the Adequate Protection

 Obligations, the Superpriority Claims and all other rights, claims, security interests and remedies

 of the Prepetition Secured Parties granted by the provisions of this Final Order or the Interim

 Order shall survive, and shall not be modified, impaired, or discharged by the entry of an order

 (i) converting any of these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code,

 dismissing any of these Chapter 11 Cases or by any other act or omission or (ii) confirming a

 plan of reorganization in any of the Chapter 11 Cases, and, pursuant to section 1141(d)(4) of the

 Bankruptcy Code, the Debtors have waived any discharge as to any remaining Adequate

 Protection Obligations; provided that any plan of reorganization or liquidation approved in

 accordance with the RSA, or otherwise with the consent of the Steering Committee in its

 reasonable discretion, shall supersede and replace the terms of the Final Order upon its

 effectiveness in accordance therewith.     The terms and provisions of this Final Order shall

 continue in these Chapter 11 Cases, in any successor cases if these Chapter 11 Cases cease to be

 jointly administered, or in any superseding chapter 7 cases under the Bankruptcy Code, and the

 Adequate Protection Liens, Superpriority Claims, other administrative claims granted pursuant to

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 this Final Order or the Interim Order, and all other rights, claims, security interests and remedies

 of the Prepetition Secured Parties granted by the provisions of this Final Order or the Interim

 Order shall continue in full force and effect as provided herein.

        16.     Effect of Stipulations on Third Parties. The stipulations, releases and admissions

 contained in this Final Order, including in paragraph 5 hereof, shall be binding upon the Debtors

 and any successor thereto in all circumstances except as otherwise provided in this Final Order.

 The stipulations, releases and admissions contained in this Final Order, including in paragraph 5

 hereof, shall be binding upon all other parties in interest, including the Creditors’ Committee,

 unless and to the extent (a) the Creditors’ Committee or any other party in interest other than any

 Debtor, in each case, after obtaining requisite standing, has duly filed an adversary proceeding

 challenging in whole or part the validity, enforceability, priority or extent of the Prepetition

 Obligations or the liens on the Prepetition Collateral securing the Prepetition Obligations held by

 or on behalf of the Prepetition Secured Parties or otherwise asserting or prosecuting any

 Avoidance Actions, recharacterization, subordination, “lender liability”, or any other claims,

 counterclaims or causes of action, objections, contests or defenses (collectively, the “Claims and

 Defenses”) against the Prepetition Secured Parties in connection with any matter related to the

 Prepetition Obligations, or the Prepetition Collateral or the Prepetition Liens by no later than the

 later of (i) in the case of any such adversary proceeding filed by a party in interest with requisite

 standing other than the Creditors’ Committee, seventy-five (75) days after the date of entry of the

 Interim Order, (ii) in the case of any such adversary proceeding filed by the Creditors’

 Committee, ninety (90) days after the appointment of the Creditors’ Committee, and (iii) any

 such later date agreed to in writing by the Steering Committee and the Administrative Agent,

 First Lien Trustee or Second Lien Trustee, as applicable, each in its reasonable discretion (the

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 time period established by the later of the foregoing clauses (i), (ii) and (iii), the “Challenge

 Period”), and (b) an order is entered by a court of competent jurisdiction and becomes final and

 non-appealable in favor of the plaintiff sustaining any such Challenge or claim in any such duly

 filed adversary proceeding.     If no such adversary proceeding is timely filed prior to the

 expiration of the Challenge Period by the Creditors’ Committee or a party in interest, which has

 been granted the appropriate standing, without further order of this Court: (x) the Prepetition

 Obligations shall constitute allowed claims, not subject to counterclaim, setoff, subordination,

 recharacterization, defense, avoidance, contest, attack, objection, recoupment, reclassification,

 reduction, disallowance, recovery, disgorgement, attachment, “claim” (as defined in the

 Bankruptcy Code), impairment, subordination (whether equitable, contractual or otherwise) or

 other challenge of any kind pursuant to the Bankruptcy Code or applicable nonbankruptcy law,

 for all purposes in these Chapter 11 Cases; and (y) the Prepetition Obligations, the

 Administrative Agent’s, the First Lien Trustee’s and the Second Lien Trustee’s respective

 Prepetition Liens on the Prepetition Collateral and the respective Prepetition Secured Parties in

 such capacity shall not be subject to any other or further challenge or claim and any party in

 interest shall be forever enjoined and barred from seeking to exercise the rights of the Debtors’

 estates or taking any such action, including any successor thereto.        If any such adversary

 proceeding is timely filed by a party in interest with appropriate standing prior to the expiration

 of the Challenge Period, the stipulations and admissions contained in this Final Order, including

 in paragraph 5 hereof, shall nonetheless remain binding and preclusive (as provided in the

 second sentence of this paragraph) on the Creditors’ Committee and any other Person (as defined

 in the Credit Agreement), except as otherwise ordered in this Final Order and except as to any

 such findings and admissions that were expressly and successfully challenged in such adversary

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 proceeding. Nothing in this Final Order or the Interim Order vests or confers on any Person,

 including the Creditors’ Committee or Trustee, standing or authority to pursue any cause of

 action belonging to the Debtors or their estates; provided, however, that the Creditors’

 Committee shall be automatically vested with standing to initiate a Challenge prior to the

 expiration of the Challenge Period without any need to first seek a Court order granting such

 standing.    Notwithstanding anything herein to the contrary, this paragraph 16 and the

 stipulations, releases and admissions contained in this Final Order shall not be binding upon any

 Chapter 7 or Chapter 11 Trustee appointed or elected in the Debtors’ bankruptcy cases.

        17.     Reservation of Rights of the Prepetition Secured Parties and the Steering

 Committee.

                (a)          Notwithstanding any other provision in this Final Order or the Interim

 Order to the contrary, this Final Order is without prejudice to, and does not constitute a waiver,

 expressly or implicitly, or relinquishment, of the Prepetition Secured Parties’ or the Steering

 Committee’s respective rights with respect to any person or entity, or with respect to any other

 collateral owned or held by any person or entity. The rights of the Prepetition Secured Parties

 and the Steering Committee, respectively, are expressly reserved and entry of this Final Order

 shall be without prejudice to, and does not constitute a waiver, expressly or implicitly, or

 relinquishment, of:

                      (i)       the Prepetition Secured Parties’ or the Steering Committee’s respective
                                rights to bring or be heard on any matter brought before this Court;

                      (ii)      the Prepetition Secured Parties’ or the Steering Committee’s respective
                                rights under the Prepetition Debt Documents, the Bankruptcy Code or
                                applicable nonbankruptcy law, including, without limitation the rights,
                                if any, to (v) request modification of the automatic stay, (w) sell or
                                foreclose on any Collateral under applicable law, (x) request dismissal
                                of any of the Chapter 11 Cases, conversion of any of the Chapter 11
                                Cases to a case under chapter 7, or appointment of a chapter 11 trustee,
                                                     46



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                                examiner or receiver, (y) propose, subject to the provisions of
                                Bankruptcy Code section 1121, a chapter 11 plan; or (z) take any
                                action specified in paragraph 11(l) above;

                      (iii)     the Prepetition Secured Parties’ or the Steering Committee’s respective
                                rights to seek any other or supplemental relief in respect of the
                                Debtors;

                      (iv)      the Administrative Agent’s and the First Lien Trustee’s rights, and
                                subject to the Intercreditor Agreement, the Second Lien Trustee’s
                                right, to seek modification of the grant of adequate protection provided
                                under this Final Order or the Interim Order so as to provide different
                                or additional adequate protection; or

                      (v)       any other respective rights, claims, or privileges (whether legal,
                                equitable, or otherwise) of the Prepetition Secured Parties or the
                                Steering Committee;

                (b)          Nothing contained herein shall be deemed a finding by the Court or an

 acknowledgement by the Prepetition Secured Parties or the Steering Committee, respectively,

 that the adequate protection granted herein does in fact adequately protect the Prepetition

 Secured Parties against the Diminution in Value of their interests in the Prepetition Collateral.

        18.     Compliance with the Prepetition Debt Document Covenants. Unless otherwise

 agreed to by the Steering Committee in its reasonable discretion, notwithstanding the Debtors’

 additional reporting requirements and obligations set forth in paragraph 11 hereof, the Debtors

 shall comply in all respects with all of the reporting requirements set forth in Section 9.01

 (except for clauses (d) and (e)) of the Credit Agreement.

        19.     Prepetition Intercreditor Agreements. Nothing in this Final Order or the Interim

 Order shall amend or otherwise modify the terms and enforceability of the Intercreditor

 Agreement, which shall remain in full force and effect. The rights of the Prepetition Secured

 Parties shall at all times remain subject to the Intercreditor Agreement and any other applicable

 intercreditor agreements.

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        20.     506(c) Waiver. Except to the extent of the Carve-Out, no costs or expenses of

 administration of the Chapter 11 Cases, which have been or may be incurred in any of the

 Chapter 11 Cases at any time shall be charged against or recovered from any Prepetition Secured

 Party, any of the Prepetition Obligations, any of their respective claims, or the Collateral

 pursuant to Bankruptcy Code sections 105(a) or 506(c), or otherwise, without the prior written

 consent of the affected Administrative Agent, First Lien Trustee or Second Lien Trustee and the

 Steering Committee, each in its reasonable discretion, and no such consent shall be implied from

 any other action, inaction, or acquiescence by any of the Prepetition Secured Parties or their

 respective representatives.

        21.     No Marshaling/Application of Proceeds. The Administrative Agent, the First

 Lien Trustee and the Second Lien Trustee, as applicable, shall be entitled to apply the payments

 or proceeds of the Collateral in accordance with this Final Order and the provisions of the

 Prepetition Debt Documents and the Intercreditor Agreement, and, except as expressly provided

 in paragraphs 10(a)(ii) and 10(b)(ii), in no event shall any of the Prepetition Secured Parties be

 subject to the equitable doctrine of “marshaling” or any other similar doctrine with respect to any

 of the Collateral or otherwise.

        22.     Limitation on Use of Collateral. For the avoidance of doubt, the Debtors shall not

 be allowed to use the Cash Collateral to pay fees and expenses of any Professional Person

 retained by the Creditors’ Committee, the Retiree Committee or any other statutory committee in

 excess of the Committee Monthly Cap; provided that any unused amounts may be carried

 forward to a subsequent month.

        23.     Binding Effect; Successors and Assigns. The provisions of this Final Order,

 including all findings herein, shall be binding upon all parties in interest in these Chapter 11

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 Cases, including the Prepetition Secured Parties, the Creditors’ Committee, the Retiree

 Committee, the Debtors and their respective successors and assigns (including any Trustee

 hereinafter appointed or elected for the estates of any of the Debtors, an examiner appointed

 pursuant to Bankruptcy Code section 1104, or any other fiduciary appointed as a legal

 representative of any of the Debtors or with respect to the property of the estate of any of the

 Debtors), except as otherwise provided in this Final Order. The protections afforded to the

 Prepetition Secured Parties under this Final Order and any actions taken pursuant thereto, shall

 survive the entry of an order dismissing any or all of the Chapter 11 Cases or converting any or

 all of the Chapter 11 Cases into a case(s) under Chapter 7 of the Bankruptcy Code, except to the

 extent otherwise provided in this Final Order, and the Adequate Protection Liens and the

 Superpriority Claims shall continue in the Chapter 11 Cases, in any such successor case(s) or

 after any such dismissal. Except as otherwise provided herein, the Adequate Protection Liens

 and the Superpriority Claims shall maintain their priorities as provided in the Interim Order and

 this Final Order, and not be modified, altered or impaired in any way by any other financing,

 extension of credit, incurrence of indebtedness, or any conversion of any of the Chapter 11 Cases

 into a case(s) pursuant to chapter 7 of the Bankruptcy Code or dismissal of any of the Chapter 11

 Cases, or by any other act or omission until the Prepetition Obligations are indefeasibly paid in

 full in cash (and any letters of credit cash collateralized in accordance with the terms of the First

 Lien Credit Documents).

        24.     Limitation of Liability.    In permitting the use of the Cash Collateral or in

 exercising any rights or remedies as and when permitted pursuant to this Final Order the

 Prepetition Secured Parties shall not be deemed to be in control of the operations of the Debtors

 or to be acting as a “responsible person” or “owner or operator” with respect to the operation or

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 management of the Debtors (as such terms, or any similar terms, are used in the United States

 Comprehensive Environmental Response, Compensation and Liability Act, 29 U.S.C. §§ 9601 et

 seq. as amended, or any similar federal or state statute), nor shall they owe any fiduciary duty to

 any of the Debtors, their creditors or estates, or shall constitute or be deemed to constitute a joint

 venture or partnership with any of the Debtors. Furthermore, nothing in this Final Order shall in

 any way be construed or interpreted to impose or allow the imposition upon the Prepetition

 Secured Parties of any liability for any claims arising from the prepetition or postpetition

 activities of any of the Debtors and their respective affiliates (as defined in Bankruptcy Code

 section 101(2)).

        25.     No Modification of Final Order. Each Debtor irrevocably waives any right to

 seek any amendment, modification or extension of this Final Order without the prior written

 consent of the Steering Committee and the Administrative Agent, each in its reasonable

 discretion, and no such consent shall be implied by any action, inaction or acquiescence of the

 Steering Committee or the Administrative Agent; provided, however, that this Court has and

 retains the authority to clarify, modify, amend or supplement, its own orders.

        26.     Priorities Among Prepetition Secured Parties. Notwithstanding anything to the

 contrary herein or in any other order of this Court, in determining the relative priorities and

 rights of the Prepetition Secured Parties (including, without limitation, the relative priorities and

 rights of the Prepetition Secured Parties with respect to the adequate protection granted

 hereunder), such relative priorities and rights shall continue to be governed by the Prepetition

 Debt Documents and the Intercreditor Agreement.

        27.     Rights of Administrative Agent and First Lien Trustee. Nothing in this Final

 Order shall be construed to limit or affect the (i) Administrative Agent’s right to request

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 instructions from the Required Lenders (as defined in the Credit Agreement) in accordance with

 Section 12.04 of the Credit Agreement and (ii) First Lien Trustee’s right to request directions

 from holders of a majority in aggregate principal amount of the then outstanding First Lien Notes

 (the “Majority First Lien Noteholders”) in accordance with Sections 6.05, 7.01, and 10.02 of the

 First Lien Indenture. It being understood that since the Steering Committee constitutes the

 Required Lenders and the Majority First Lien Noteholders and can therefore direct the

 Administrative Agent in taking actions in connection with the Credit Agreement and the First

 Lien Trustee in taking actions in connection with the First Lien Indenture, in any instance in this

 Final Order where the Administrative Agent or the First Lien Trustee is indicated as having

 given its consent, as the Steering Committee has also given its consent in such case, the

 Administrative Agent and the First Lien Trustee shall be deemed to have given its consent at the

 direction of the Required Lenders and Majority First Lien Noteholders, as applicable.

        28.     No Waiver. This Final Order shall not be construed in any way as a waiver or

 relinquishment of any rights that the Prepetition Secured Parties may have to bring or be heard

 on any matter brought before this Court. Notwithstanding anything herein to the contrary, the

 entry of this Final Order is without prejudice to, and does not constitute a waiver of, expressly or

 implicitly, the rights, claims and defenses of the issuers of surety bonds on which the Debtors are

 principals or indemnitors under applicable bankruptcy and non-bankruptcy law, including any

 such issuer’s rights, claims and defenses under any existing indemnity agreements, surety bonds

 or related agreements or any letters of credit related thereto, all of which are expressly reserved.

        29.     Automatic Stay Modified. The automatic stay shall be modified or lifted to the

 extent necessary to allow the relevant Prepetition Secured Parties or the Majority Holders, as




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 applicable, to provide any notices to the Debtors or take any other action as contemplated by and

 in accordance with this Final Order or the Oder approving the RSA, as applicable.

        30.       Rights Preserved.

                  (a)    Notwithstanding anything herein to the contrary, the entry of this Final

        Order is without prejudice to, and does not constitute a waiver of, expressly or implicitly

        the Prepetition Secured Parties’ or the Steering Committee’s right to seek any other or

        supplemental relief in respect of the Debtors, including the right to seek additional

        adequate protection.     Nothing in this Final Order shall relieve the Debtors of any

        obligations under federal, state or local police or regulatory laws or under 28 U.S.C. §

        959(b).

                  (b)    Nothing in this Final Order is intended to be and shall not be deemed

        collateral estoppel or res judicata regarding the issues raised by Dominion Resources

        Black Warrior Trust that are on appeal from order(s) of this Court. Further, all parties’

        rights and claims regarding those issues are preserved.

        31.       Effectiveness. This Final Order shall constitute findings of fact and conclusions

 of law pursuant to Bankruptcy Rule 7052 and shall take effect immediately upon entry hereof,

 and there shall be no stay of execution of effectiveness of this Final Order. Any finding of fact

 shall constitute a finding of fact even if it appears as a conclusion of law, and any conclusion of

 law shall constitute a conclusion of law even if it appears as a finding of fact.

        32.       Controlling Effects of Final Order. To the extent of any conflict between or

 among (a) the Motion, any other order of this Court, or any other agreements, on the one hand,

 and (b) the terms and provisions of this Final Order, on the other hand, unless such term or

 provision herein is phrased in terms of “as defined in” or “as more fully described in” or “as

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 provided in” or words to that effect with respect to the Prepetition Debt Documents, the terms

 and provisions of this Final Order shall govern. This Final Order shall take effect and be fully

 enforceable nunc pro tunc to the Petition Date immediately upon entry hereof, notwithstanding

 the possible application Bankruptcy Rules 6004(g), 7062, 9014, or otherwise, and the Clerk of

 this Court is hereby directed to enter this Final Order on this Court’s dockets in the Chapter 11

 Cases.

          33.   Jurisdiction. This Court shall retain jurisdiction to enforce the terms of this Final

 Order and to adjudicate any and all matters arising from or related to the interpretation,

 implementation or enforcement of this Final Order.

 Dated: September 14, 2015                     /s/ Tamara O. Mitchell
                                               THE HONORABLE TAMARA O. MITCHELL
                                               UNITED STATES BANKRUPTCY JUDGE




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                                   Exhibit A

                                 Initial Budget




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                                                                                                                                                                                                                                                                                        Confidential
Walter Energy, Inc. and Domestic Subsidiaries                                                                                                                                                                                                                             Subject to Material Change
Cash Collateral Budget
(Amounts in USD)
                                                                     1                 2                 3                4                 5                 6                7                 8                 9                 10               11                12                 Total
                                            Actual / Forecast     Forecast          Forecast          Forecast         Forecast          Forecast          Forecast         Forecast          Forecast          Forecast          Forecast         Forecast          Forecast               for
                                               Week Ending        7/18/15           7/25/15            8/1/15           8/8/15           8/15/15           8/22/15          8/29/15            9/5/15           9/12/15           9/19/15          9/26/15           10/3/15             12 Weeks
TOTAL NET CASH FLOW
  Receipts
    Sales/AR Receipts                                            $ 10,844,222      $ 15,024,788     $ 18,727,363      $ 12,585,487      $ 15,645,125     $ 15,402,161       $ 5,956,529       $ 4,358,090      $ 10,743,138     $ 15,994,156      $ 23,583,227      $ 13,187,610        $ 162,051,895
    Other                                                             200,000           575,000          970,000             3,000           300,000          575,000           190,000         1,008,272                ‐           106,250           200,000           980,000            5,107,522
    Total Cash Receipts                                            11,044,222       15,599,788        19,697,363        12,588,487        15,945,125       15,977,161         6,146,529         5,366,362       10,743,138        16,100,406        23,783,227        14,167,610          167,159,417

    Disbursements
     Payroll, Benefits & Pension                                   (6,331,258)       (5,695,298)      (7,292,681)       (5,722,640)       (7,483,164)       (3,345,640)      (7,495,664)       (3,905,289)       (7,060,189)       (6,297,764)      (4,536,189)       (6,797,764)         (71,963,540)
     Leases, Taxes, Utilities, Fuel, Insurance                     (1,394,453)         (577,000)      (1,227,145)       (3,345,140)       (2,295,615)         (969,600)        (587,753)       (3,916,145)         (696,809)       (2,092,836)        (959,000)       (3,806,753)         (21,868,249)
     Freight & Royalties                                           (6,125,550)       (2,753,000)      (2,534,071)       (2,426,025)       (5,384,014)       (2,924,500)      (2,542,221)       (2,522,479)       (2,495,560)       (4,765,760)      (2,850,935)       (2,136,025)         (39,460,140)
     Other Expenditures                                              (652,712)      (13,482,552)     (16,547,260)       (9,315,901)       (2,571,463)       (2,504,010)      (3,579,217)       (2,660,096)       (2,409,086)       (2,967,733)      (4,932,558)       (6,422,468)         (68,045,056)

    Total Disbursements1                                          (14,503,973)      (22,507,850)     (27,601,157)      (20,809,706)      (17,734,256)       (9,743,750)     (14,204,855)      (13,004,009)      (12,661,644)     (16,124,093)      (13,278,682)      (19,163,010)        (201,336,985)

                          2                                      $ (3,459,751)     $ (6,908,062)     $ (7,903,794)     $ (8,221,219)    $ (1,789,131)      $ 6,233,411      $ (8,058,326)    $ (7,637,648)     $ (1,918,506)        $ (23,687)    $ 10,504,544      $ (4,995,400)       $ (34,177,568)
TOTAL NET CASH FLOW

Cash Collateral Budget Metrics

    Cumulative Totals
    Total Disbursements                                           (14,503,973)      (37,011,822)     (64,612,979)      (85,422,685)     (103,156,941)    (112,900,691)     (127,105,546)     (140,109,556)    (152,771,200)     (168,895,293)     (182,173,975)     (201,336,985)
    Total Net Cash Flow                                            (3,459,751)      (10,367,813)     (18,271,607)      (26,492,826)      (28,281,957)     (22,048,546)      (30,106,872)      (37,744,520)     (39,663,026)      (39,686,713)      (29,182,168)      (34,177,568)

Notes:
1
  Although permitted pursuant to the terms of the Cash Collateral Order, the figures above exclude (i) adequate protection payments, (ii) fees and expenses of professionals retained outside the ordinary course of business, (iii) the Debtors’ use of the Cash Collateral to collateralize any new,
replaced or renewed letters of credit, surety bonds or workers’ compensation obligations in each case, that have been consented to by the Steering Committee in its sole discretion and (iv) key employee retention payments approved by both the Steering Committee and the Court that are
approved to be paid pursuant to the Approved Budget and the Cash Collateral Order.
2
  Budget assumes continuation of ordinary course transactions between the Debtors and Non‐Debtor Affiliates Black Warrior Methane and Black Warrior Transmission.




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Walter Energy - Domestic Capital Expenditures Budget
$ in 000s

                                                 2015                              2016
                       Jul-15    Aug-15    Sep-15    Oct-15   Nov-15    Dec-15    Jan-16 Cumulative
Capital Expenditures     8,460     6,044     4,551    3,315     4,514     5,739     8,273   40,897




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